      Case 3:17-cv-04701-WHO Document 116 Filed 07/09/18 Page 1 of 45



 1   XAVIER BECERRA
     Attorney General of California
 2   SATOSHI YANAI
     Supervising Deputy Attorney General
 3   SARAH E. BELTON
     LISA C. EHRLICH
 4   LEE SHERMAN (SBN 272271)
     Deputy Attorneys General
 5    300 S. Spring St., Suite 1702
      Los Angeles, CA 90013
 6    Telephone: (213) 269-6404
      Fax: (213) 879-7605
 7    E-mail: Lee.Sherman@doj.ca.gov
     Attorneys for Plaintiff State of California
 8

 9                             IN THE UNITED STATES DISTRICT COURT

10                         FOR THE NORTHERN DISTRICT OF CALIFORNIA

11                                       SAN FRANCISCO DIVISION

12

13
     STATE OF CALIFORNIA, ex rel, XAVIER                   Case No. 3:17-cv-04701-WHO
14   BECERRA, in his official capacity as
     Attorney General of the State of California,
15
                                         Plaintiff, PLAINTIFF STATE OF CALIFORNIA’S
16                                                  NOTICE OF MOTION AND MOTION
                   v.                               FOR SUMMARY JUDGMENT;
17                                                  MEMORANDUM OF POINTS AND
                                                    AUTHORITIES IN SUPPORT
18   JEFFERSON B. SESSIONS, in his official
     capacity as Attorney General of the United     Date:         September 5, 2018
19   States; ALAN R. HANSON, in his official        Time:         2:00 p.m.
     capacity as Principal Deputy Assistant         Dept:         2
20   Attorney General; UNITED STATES                Judge:        Honorable William H. Orrick
     DEPARTMENT OF JUSTICE; and DOES                Trial Date:   January 28, 2019
21   1-100,                                         Action Filed: August, 14, 2017

22                                         Defendants.

23

24

25

26

27

28

                   Plaintiff State of California’s Motion for Summary Judgment (3:17-cv-04701-WHO)
      Case 3:17-cv-04701-WHO Document 116 Filed 07/09/18 Page 2 of 45



 1                                                       TABLE OF CONTENTS
 2                                                                                                                                              Page
 3   Notice of Motion and Motion for Summary Judgment................................................................... 1
     Memorandum of Points and Authorities ......................................................................................... 1
 4
     Introduction ..................................................................................................................................... 1
 5   Background ..................................................................................................................................... 3
 6          I.        Section 1373 and the INA ....................................................................................... 3
            II.       California’s Statutes ................................................................................................ 4
 7
                      A.          The TRUST, TRUTH, and Values Acts and California’s
 8                                Implementation ........................................................................................... 5
                      B.          California’s Confidentiality Statutes ........................................................... 7
 9
            III.      The JAG Authorizing Statute and the State’s JAG and COPS Grants ................... 8
10          IV.       Defendants’ Conduct with Respect to JAG and COPS Grants ............................... 8
11   Argument ...................................................................................................................................... 10
            I.        Legal Standard ...................................................................................................... 10
12
            II.       Defendants Lack Statutory Authority to Impose the Access and
13                    Notification Conditions (Counts 1 and 3) ............................................................. 11
            III.      All Three JAG Conditions Violate the Spending Clause (Counts 2 and 3) .......... 14
14
                      A.          There is No Sufficient Nexus Between the Conditions and JAG’s
15                                Purpose ...................................................................................................... 14
                      B.          The Access and Notification Conditions are Ambiguous ......................... 15
16
            IV.       All Three JAG Conditions Are Arbitrary and Capricious (Count 4) .................... 15
17          V.        This Court Should Declare That § 1373 Cannot be Lawfully Enforced
                      Against the Identified State Laws (Count 5) ......................................................... 19
18
                      A.          Murphy Confirms § 1373 Cannot be Constitutionally Enforced
19                                Against the State Laws .............................................................................. 19
                      B.          Defendants’ Expansive Interpretation of § 1373 Cannot be
20                                Constitutionally Enforced Against the State’s Laws ................................ 20
21                    C.          The State’s Laws Comply with § 1373 as Lawfully Construed ............... 25
                      D.          The State Laws Allow LEAs to Provide Information to Immigration
22                                Authorities as Defendants’ Interpretation of § 1373 Requires ................. 27
23          VI.       The State is Entitled to Injunctive Relief .............................................................. 30
                      A.          Irreparable Harm and Balance of Hardships and the Public Interest ........ 30
24
                      B.          Nationwide Injunctive Relief .................................................................... 32
25                    C.          Mandamus Relief/Mandatory Injunction .................................................. 33
26   Conclusion .................................................................................................................................... 35

27

28
                                                                              i
                         Plaintiff State of California’s Motion for Summary Judgment (3:17-cv-04701-WHO)
      Case 3:17-cv-04701-WHO Document 116 Filed 07/09/18 Page 3 of 45



 1                                                  TABLE OF AUTHORITIES
 2                                                                                                                                      Page
 3   CASES
 4   Alden v. Maine
        527 U.S. 706 (1999) ..................................................................................................................20
 5

 6   Am. Bioscience, Inc. v. Thompson
        269 F.3d 1077 (D.C. Cir. 2001) ................................................................................................10
 7
     Am. Trucking Ass’ns, Inc. v. Los Angeles
 8      559 F.3d 1046 (9th Cir. 2009).............................................................................................30, 31

 9   Ariz. Dream Act Coalition v. Brewer
         757 F.3d 1053 (9th Cir. 2014)...................................................................................................32
10
     Arlington Cent. Sch. Dist. Bd. of Educ. v. Murphy
11
         548 U.S. 291 (2006) ............................................................................................................11, 13
12
     Bennett v. Spear
13      520 U.S. 154 (1997) ..................................................................................................................16

14   Bond v. United States
        134 S. Ct. 2077 (2014) ..............................................................................................................25
15
     Bresgal v. Brock
16      843 F.2d 1163 (9th Cir. 1987)...................................................................................................33
17
     Califano v. Yamasaki
18      442 U.S. 682 (1979) ..................................................................................................................33

19   Cape May Greene, Inc. v. Warren
        698 F.2d 179 (3d Cir. 1983) ......................................................................................................16
20
     Casa De Maryland v. DHS
21      284 F. Supp. 3d 758 (D. Md. 2018) ..........................................................................................27
22
     Chamber of Commerce of the U.S. v. Whiting
23      563 U.S. 582 (2011) ..................................................................................................................25

24   Charles v. Verhagen
        348 F.3d 601 (7th Cir. 2003).....................................................................................................15
25
     Chicago v. Sessions
26      264 F. Supp. 3d 933 (N.D. Ill. 2017) ..........................................................................................9
27   Chicago v. Sessions
28      888 F.3d 272 (7th Cir. 2018)............................................................................................. passim
                                                                         ii
                        Plaintiff State of California’s Motion for Summary Judgment (3:17-cv-04701-WHO)
      Case 3:17-cv-04701-WHO Document 116 Filed 07/09/18 Page 4 of 45



 1                                                  TABLE OF AUTHORITIES
                                                          (continued)
 2                                                                                                                                       Page
 3   Chicago v. Sessions
        No. 17-2991 (7th Cir. (en banc) 2018) .......................................................................3, 9, 10, 31
 4
     City of Arlington, Tex. v. FCC
 5
         569 U.S. 290 (2013) ..................................................................................................................11
 6
     City of New York v. United States
 7       179 F.3d 29 (2d Cir. 1999) ..................................................................................................20, 23

 8   Custis v. United States
        511 U.S. 485 (1994) ..................................................................................................................25
 9
     DeCanas v. Bicas
10      424 U.S. 351 (1976) ..................................................................................................................24
11
     eBay Inc. v. MercExchange, LLC
12      547 U.S. 388 (2006) ..................................................................................................................30

13   Encino Motorcars, LLC v. Navarro
        136 S. Ct. 2117 (2016) ..............................................................................................................18
14
     FCC v. Fox Television Stations, Inc.
15     556 U.S. 502 (2009) ..................................................................................................................19
16   FDA v. Brown & Williamson Tobacco Corp.
17     529 U.S. 120 (2000) ..................................................................................................................13

18   Gregory v. Ashcroft
        501 U.S. 452 (1991) ............................................................................................................20, 25
19
     Hawaii v. Trump
20     585 U.S. __, slip op. (2018) ......................................................................................................26
21   Jama v. ICE
22      543 U.S. 335 (2005) ..................................................................................................................11

23   Kansas v. United States
        249 F.3d 1213 (10th Cir. 2001).................................................................................................30
24
     Los Angeles v. Adams
25      556 F.2d 40 (D.C. Cir. 1977) ....................................................................................................34
26   Los Angeles v. McLaughlin
        865 F.2d 1084 (9th Cir. 1989)...................................................................................................34
27

28
                                                                         iii
                        Plaintiff State of California’s Motion for Summary Judgment (3:17-cv-04701-WHO)
      Case 3:17-cv-04701-WHO Document 116 Filed 07/09/18 Page 5 of 45



 1                                                  TABLE OF AUTHORITIES
                                                          (continued)
 2                                                                                                                                       Page
 3   Los Angeles v. Sessions
        293 F. Supp. 3d 1087 (C.D. Cal. 2018)...............................................................................11, 31
 4
     Marquez v. Hardin
 5
       339 F. Supp. 1364 (N.D. Cal. 1969) .........................................................................................35
 6
     Melendres v. Arpaio
 7      784 F.3d 1254 (9th Cir. 2015)...................................................................................................33

 8   Morales v. Trans World Airlines, Inc.
       504 U.S. 374 (1992) ..................................................................................................................30
 9
     Motor Vehicle Mfrs. Ass’n of the U.S. v. State Farm Mut. Auto. Ins. Co.
10      463 U.S. 29 (1983) ....................................................................................................................16
11
     Murphy v. NCAA
12     138 S. Ct. 1461 (2018) ...................................................................................................... passim

13   Nat’l Cable & Telecomms. Ass’n v. Brand X Internet Servs.
        545 U.S. 967 (2005) ..................................................................................................................18
14
     Nat’l Min. Ass’n v. U.S. Army Corps of Eng’rs
15      145 F.3d 1399 (D.C. Cir. 1998) ................................................................................................32
16   New York v. United States
17      505 U.S. 144 (1992) ............................................................................................................14, 22

18   Nken v. Holder
        556 U.S. 418 (2009) ..................................................................................................................30
19
     Norton v. S. Utah Wilderness Alliance
20      542 U.S. 55 (2004) ....................................................................................................................34
21   Nw. Envtl. Def. Ctr. v. Bonneville Power Admin.
22      477 F.3d 668 (9th Cir. 2007).....................................................................................................18

23   Occidental Eng’g Co. v. INS
        753 F.2d 766 (9th Cir. 1985).....................................................................................................11
24
     Pennhurst State Sch. & Hosp. v. Halderman
25      451 U.S. 1 (1981) ..........................................................................................................11, 13, 14
26   Philadelphia v. Sessions
        280 F. Supp. 3d 579 (E.D. Pa. 2017) ..................................................................................17, 18
27

28
                                                                         iv
                        Plaintiff State of California’s Motion for Summary Judgment (3:17-cv-04701-WHO)
      Case 3:17-cv-04701-WHO Document 116 Filed 07/09/18 Page 6 of 45



 1                                                  TABLE OF AUTHORITIES
                                                          (continued)
 2                                                                                                                                      Page
 3   Philadelphia v. Sessions
        No. 17-3894, 2018 WL 2725503 (E.D. Pa. June 6, 2018) ................................................ passim
 4
     Presley v. Etowah Cty. Comm’n
 5
        502 U.S. 491 (1992) ..................................................................................................................21
 6
     Printz v. United States
 7      521 U.S. 898 (1997) ......................................................................................................20, 22, 24

 8   Providence Yakima Med. Ctr. v. Sebelius
        611 F.3d 1181 (9th Cir. 2010)...................................................................................................16
 9
     RadLAX Gateway Hotel, LLC v. Amalgamated Bank
10      566 U.S. 639 (2012) ..................................................................................................................27
11
     Raley v. Ohio
12      360 U.S. 423 (1959) ..................................................................................................................27

13   Roach v. Mail Handlers Ben. Plan
        298 F.3d 847 (9th Cir. 2002).....................................................................................................26
14
     Sanchez v. Sessions
15      870 F.3d 901 (9th Cir. 2017).....................................................................................................27
16   Santa Clara v. Trump
17      250 F. Supp. 3d 497 (N.D. Cal. 2017) ......................................................................................15

18   Sierra Pacific Industries v. Lyng
         866 F.2d 1099 (9th Cir. 1989)...................................................................................................34
19
     South Dakota v. Dole
20      483 U.S. 203 (1987) ..................................................................................................................14
21   State Highway Comm’n of Mo. v. Volpe
22       479 F.2d 1099 (8th Cir. 1973).............................................................................................12, 34

23   Steinle v. City & Cty. of San Francisco
         230 F. Supp. 3d 994 (N.D. Cal. 2017) ................................................................................25, 26
24
     Stone v. INS
25      514 U.S. 386 (1995) ..................................................................................................................12
26   Stuller, Inc. v. Steak N Shake Enters., Inc.
         695 F.3d 676 (7th Cir. 2012).....................................................................................................31
27

28
                                                                         v
                        Plaintiff State of California’s Motion for Summary Judgment (3:17-cv-04701-WHO)
      Case 3:17-cv-04701-WHO Document 116 Filed 07/09/18 Page 7 of 45



 1                                                    TABLE OF AUTHORITIES
                                                            (continued)
 2                                                                                                                                           Page
 3   Suffolk v. Sebelius
         605 F.3d 135 (2d Cir. 2010) ......................................................................................................32
 4
     Telecommc’ns. Research & Action v. FCC (TRAC)
 5
         750 F.2d 70 (9th Cir. 1984).................................................................................................34, 35
 6
     Train v. City of New York
 7      420 U.S. 35 (1975) ....................................................................................................................34

 8   United States v. California
        No. 18-cv-490 (E.D. Cal. 2018) ........................................................................................ passim
 9
     United States v. Lopez
10      514 U.S. 549 (1995) ..................................................................................................................24
11
     United States v. Morrison
12      529 U.S. 598 (2000) ......................................................................................................22, 24, 25

13   United States v. North Carolina
        192 F. Supp. 3d 620 (M.D.N.C. 2016)......................................................................................31
14
     Utility Air Regulatory Grp. v. EPA
15       134 S. Ct. 2427 (2014) ..............................................................................................................33
16   Whitman v. Am. Trucking Ass’ns
17      531 U.S. 457 (2001) ..................................................................................................................13

18   Whole Woman’s Health v. Hellerstedt
       136 S. Ct. 2292 (2016) ..............................................................................................................33
19
     Zamecnik v. Indian Prairie Sch. Dist. #204
20      636 F.3d 874 (7th Cir. 2011).....................................................................................................33
21   STATUTES
22
     5 United States Code
23      § 706 ..............................................................................................................................15, 33, 34

24

25

26

27

28
                                                                           vi
                        Plaintiff State of California’s Motion for Summary Judgment (3:17-cv-04701-WHO)
      Case 3:17-cv-04701-WHO Document 116 Filed 07/09/18 Page 8 of 45



 1                                                     TABLE OF AUTHORITIES
                                                             (continued)
 2                                                                                                                                               Page
 3   8 United States Code
        § 1101 ..............................................................................................................................4, 21, 27
 4      § 1152 ........................................................................................................................................26
 5      § 1182 ..................................................................................................................................14, 21
        § 1186 ........................................................................................................................................21
 6      § 1202 ........................................................................................................................................14
        § 1225 ..................................................................................................................................21, 26
 7      § 1231 ........................................................................................................................................26
        § 1360 ........................................................................................................................................26
 8      § 1367 ..............................................................................................................................4, 26, 27
 9      § 1373 ................................................................................................................................ passim
        § 1446 ........................................................................................................................................21
10
     26 United States Code
11      § 6103 ........................................................................................................................................30
12   34 United States Code
        § 10102 ............................................................................................................................1, 12, 13
13      § 10152 ..................................................................................................................................8, 14
14      § 10153 ..................................................................................................................................8, 11
        § 10156 ............................................................................................................................8, 33, 34
15      § 10228 ......................................................................................................................................13
        § 20927 ................................................................................................................................13, 32
16      § 30307 ......................................................................................................................................32
17   California Civil Code
18      § 1798.3 .......................................................................................................................................5

19   California Code of Civil Procedure
        § 155 ..................................................................................................................................5, 7, 27
20
     California Government Code
21      § 6254 ........................................................................................................................................28
        § 7282 ....................................................................................................................................5, 28
22      § 7282.5 .....................................................................................................................................29
23      § 7283 ..........................................................................................................................................5
        § 7283.1 .......................................................................................................................................5
24      § 7284.2 ...................................................................................................................................4, 5
        § 7284.4 .......................................................................................................................................6
25      § 7284.6 ............................................................................................................................. passim
26

27

28
                                                                             vii
                         Plaintiff State of California’s Motion for Summary Judgment (3:17-cv-04701-WHO)
      Case 3:17-cv-04701-WHO Document 116 Filed 07/09/18 Page 9 of 45



 1                                                     TABLE OF AUTHORITIES
                                                             (continued)
 2                                                                                                                                              Page
 3   California Penal Code
        § 422.93 .........................................................................................................................4, 5, 7, 26
 4      § 679.10 .............................................................................................................................5, 7, 26
 5      § 679.11 .............................................................................................................................5, 7, 26
        § 5025 ....................................................................................................................................6, 28
 6      § 5026 ....................................................................................................................................6, 28

 7   California Welfare & Institutions Code
        § 827 ..................................................................................................................................5, 7, 27
 8      § 831 ..................................................................................................................................5, 7, 27
 9   CONSTITUTIONAL PROVISIONS
10
     United States Constitution, Tenth Amendment ..............................................................2, 19, 20, 21
11
     COURT RULES
12
     California Rules of Court
13      Rule 5.552(b)-(c) .........................................................................................................................7
14   Federal Rules of Civil Procedure
        Rule 56(a) ..................................................................................................................................10
15
     OTHER AUTHORITIES
16

17   8 Code of Federal Regulations
        § 244.16 .....................................................................................................................................30
18
     28 Code of Federal Regulations
19      § 66.12 .......................................................................................................................................12
20   151 Cong. Rec. 25 (2005) ...............................................................................................................14
21   2013 Cal. Legis. Serv. Ch. 570 § 1(d)...............................................................................................4
22
     2016 Cal. Legis. Serv. Ch. 768 § 2(i)................................................................................................4
23
     H.R. Rep. 109-233 (2005) ...........................................................................................................8, 12
24
     TRAC Reports, Inc., Latest Data: Immigration and Customs Enforcement
25     Detainers, California (2018)........................................................................................................4

26

27

28
                                                                            viii
                         Plaintiff State of California’s Motion for Summary Judgment (3:17-cv-04701-WHO)
     Case 3:17-cv-04701-WHO Document 116 Filed 07/09/18 Page 10 of 45



 1             NOTICE OF MOTION AND MOTION FOR SUMMARY JUDGMENT
 2         PLEASE TAKE NOTICE that on Wednesday, September 5, at 2:00 p.m. or as soon

 3   thereafter as it may be heard before the Honorable William H. Orrick in Courtroom 2 of the U.S.

 4   District Court for the Northern District of California, 450 Golden Gate Avenue, San Francisco,

 5   CA 94102, Plaintiff State of California, ex rel. Xavier Becerra, California Attorney General, will

 6   and does hereby move for summary judgment. This Motion is based on this Notice of Motion and

 7   Motion, the Memorandum of Points and Authorities, the declarations, the Request for Judicial

 8   Notice, as well as the papers, evidence and records on file, and any other written or oral evidence

 9   or argument as may be presented at or before the time this Motion is heard by the Court.

10         California respectfully requests that the Court enter judgment in its favor as to each of its

11   claims for relief because the undisputed evidence shows that: (1) the imposition of the Access and

12   Notification Conditions violates the constitutional separation of powers; (2) the Access,

13   Notification, and § 1373 Conditions (Challenged Conditions) violate the Spending Clause; (3) the

14   Challenged Conditions violate the APA; (4) California is entitled to declaratory relief that all of

15   the laws identified in its First Amended Complaint (FAC) comply with 8 U.S.C. § 1373 and §

16   1373 is unconstitutional on its face and in application; and (5) California is entitled to injunctive

17   relief prohibiting Defendants from unlawfully withholding Edward Byrne Memorial Justice

18   Assistance Grants (JAG) and Community Oriented Policing Services (COPS) funds.

19                        MEMORANDUM OF POINTS AND AUTHORITIES
20                                             INTRODUCTION
21         This Motion seeks to stop Defendants’ unilateral and unconstitutional imposition of funding

22   requirements designed to strip critical law enforcement grants from California for exercising its

23   constitutionally protected right not to acquiesce to the federal government’s immigration

24   enforcement demands. To justify at least two of the conditions, Defendants rely on an

25   administrative provision outside of the JAG authorizing statute, 34 U.S.C. § 10102, that allows

26   Defendants to place “special conditions” on grants. But two district courts and the Seventh Circuit

27   have already held § 10102 does not provide Defendants with the authority they claim here. E.g.,

28   Chicago v. Sessions, 888 F.3d 272 (7th Cir. 2018). Defendants also rely on 8 U.S.C. § 1373
                                                         1
                   Plaintiff State of California’s Motion for Summary Judgment (3:17-cv-04701-WHO)
     Case 3:17-cv-04701-WHO Document 116 Filed 07/09/18 Page 11 of 45



 1   purportedly being an “applicable law” for JAG and COPS. To justify withholding funding from
 2   California, Defendants wrongly enlarge the scope of § 1373’s prohibition on restricting
 3   “information regarding . . . citizenship or immigration status” as requiring the State to allow
 4   release dates, addresses, and an expansive array of other personal information about the State’s
 5   residents to be used for immigration enforcement purposes. But no federal court has accepted that
 6   reading and multiple courts have, at a minimum, questioned § 1373’s constitutionality.
 7         Most recently, Judge Mendez in the Eastern District of California rejected the enforcement
 8   of this broad reading of § 1373 against two of the statutes at issue here. The day after this Court
 9   denied Defendants’ motion to dismiss and the State’s motion for preliminary injunction in this
10   case, ECF 88, 89, the United States sued California requesting that Senate Bill 54 (the California
11   Values Act and Amended TRUST Act) be preliminarily enjoined because it allegedly conflicts
12   with § 1373 and is otherwise preempted by federal law, United States v. California, 18-cv-490.
13   The court denied that request, determining that § 1373 does not govern release dates and
14   addresses. It explicitly found that “Section 1373 and the information sharing provisions of SB 54
15   do not directly conflict.” ECF 189, slip op. at 41-42 (July 5, 2018) (E.D. Cal. Op.), and dismissed
16   the United States’ SB 54 claim without leave to amend. ECF 197, slip op. at 5-7 (July 9, 2018). In
17   addition, the Supreme Court’s recent decision in Murphy v. NCAA, 138 S. Ct. 1461 (2018),
18   confirms that § 1373, a prohibition directed at the State, or at minimum, Defendants’ broad
19   interpretation of that statute, is unconstitutional under the Tenth Amendment. Defendants cannot
20   require compliance with an unconstitutional law for the State to receive JAG and COPS funding.
21   See Philadelphia v. Sessions, 17-3894, 2018 WL 2725503, at *31-33 (E.D. Pa. June 6, 2018). In
22   any event, the undisputed record in this case unequivocally demonstrates that the State complies
23   with § 1373 as that statute may be correctly construed, and to require California to do anything
24   more would greatly burden the State, undermine trust between law enforcement agencies (LEAs)
25   and the communities they serve, and jeopardize the health, safety, and welfare of all Californians.
26         Due to Defendants’ actions, California and its political subdivisions have been unjustly
27   denied law enforcement grants to the detriment of their communities. On June 26, 2018, while

28   leaving the injunction in place for the City of Chicago, the Seventh Circuit stayed the scope of a
                                                       2
                  Plaintiff State of California’s Motion for Summary Judgment (3:17-cv-04701-WHO)
     Case 3:17-cv-04701-WHO Document 116 Filed 07/09/18 Page 12 of 45



 1   preliminary injunction of the Access and Notification Conditions pending disposition by the en
 2   banc court of the propriety of a nationwide injunction. 1 Freed from the nationwide injunction,
 3   Defendants have sown confusion and uncertainty into the FY 2017 grant-awarding process by
 4   entirely withholding awards from state and local jurisdictions in six states, including California.
 5   In the remaining 44 states, Defendants are disbursing federal funds, but have not awarded grants
 6   to local jurisdictions that Defendants ostensibly believe do not comply with § 1373. The result is
 7   a loss of $28.3 million to California and at least $56.6 million to jurisdictions nationwide.
 8          This selection of winners and losers is not what Congress intended when creating JAG.
 9   Defendants cannot withhold congressionally authorized and appropriated formula grants for
10   reasons not contemplated by the authorizing statute. They also cannot continue to withhold
11   funding based on an incorrect determination that the State does not comply with a law that is on
12   its face, and in application, unconstitutional. The same holds true for jurisdictions throughout the
13   nation. Accordingly, California respectfully requests that: (a) Defendants be enjoined from
14   imposing the Challenged Conditions in California or anywhere; (b) Defendants award the money
15   and grant awards to all eligible jurisdictions without these conditions; and (c) the Court declare
16   that the laws identified in the FAC comply with the only correct and constitutional construction of
17   § 1373, or in the alternative, declare that § 1373 is unconstitutional on its face.
18                                                  BACKGROUND
19   I.     SECTION 1373 AND THE INA
20          Section 1373(a) of the Immigration and Nationality Act (INA) states:
21          Notwithstanding any other provision of Federal, State, or local law, a Federal, State, or
            local government entity or official may not prohibit, or in any way restrict, any government
22          entity or official from sending to, or receiving from [immigration authorities] information
            regarding the citizenship or immigration status, lawful or unlawful, of any individual.
23

24   Section 1373(b) proscribes federal, state, or local governments from prohibiting the “[s]ending,”
25   “[m]aintaining,” or “[e]xchanging” of such information “with any other Federal, State, or local
26   government entity.” In contrast, other INA provisions protect certain vulnerable immigrants. For
27   1
       Order, Chicago v. Sessions, 17-2991 (7th Cir. June 26, 2018). A unanimous panel held Chicago established a
     likelihood of success on the merits. Chicago, 888 F.3d at 287. The Seventh Circuit voted to rehear the case en banc
28   “only as to the narrow issue” of the scope of the injunction. Order, Chicago v. Sessions (7th Cir. June 4, 2018).
                                                              3
                     Plaintiff State of California’s Motion for Summary Judgment (3:17-cv-04701-WHO)
     Case 3:17-cv-04701-WHO Document 116 Filed 07/09/18 Page 13 of 45



 1   example, 8 U.S.C. § 1367(a), which was enacted as part of the same legislation as § 1373, see
 2   Pub. L. 104-208, generally prohibits the “use by or disclosure” of any information provided
 3   during the application process for certain witnesses and victims of crime, including U- or T-visas
 4   applicants, “to anyone” other than identified federal departments. It prohibits using such
 5   information to “make an adverse determination of admissibility or deportability.” Id. The INA
 6   also details a “Special Immigrant Juvenile” process, through which certain abused, neglected, or
 7   abandoned children may seek legal immigration status. Id. § 1101(a)(27)(J).
 8   II.    CALIFORNIA’S STATUTES
 9          The statutes at issue here respond to two overarching state interests. First, the Legislature
10   found that LEAs’ “limited resources” should be directed to the “matters of greatest concern to
11   state and local governments,” which is public safety, not immigration enforcement. Gov’t Code §
12   7284.2(f). For example, the Values Act responds to the concern that the federal government’s
13   expanded immigration enforcement priorities and plan to use local law enforcement as “force
14   multipliers” would cause LEAs to be inundated with immigration enforcement requests. Req. for
15   Judicial Notice (RJN) Exs. 1 at 8; 2 at 1, 2, 9. This concern proved prescient. 2 Second, California
16   concluded that prescribing clear limits on law enforcement involvement with immigration
17   enforcement results in safer communities. 3 E.g., RJN Exs. 4-6. The Legislature relied on law
18   enforcement officers’ statements about the public safety benefits of these community-policing
19   centered practices. See, e.g., RJN Exs. 7 at 7 (Presidential Taskforce describing how law
20   enforcement entanglement with immigration enforcement makes it less likely for victims and

21   witnesses to report crimes); 8 at 9 (San Francisco Sheriff describing concerns with law

22   enforcement providing information to immigration authorities about domestic violence victims).

23   LEAs throughout the State find it vital to maintain trust with immigrant communities; otherwise

24   people “fail to disclose crimes that they witness and/or are victims to out of fear of deportation.”

25   Hart Decl. ¶¶ 7; id. ¶¶ 9, 11-18, 21; Rosen Decl. ¶¶ 6-9; see also Wong Decl. ¶¶ 4, 34-38, 44, 48,

26   2
       See TRAC Reports, Inc., Latest Data: Immigration and Customs Enforcement Detainers, California (2018),
     http://trac.syr.edu/phptools/immigration/detain/ (showing increase of 15,000 detainers in FY 2016 to 30,000 in FY
27   2017); see also RJN Ex. 3 (over 80 percent increase in detainers issued nationally after January 2017).
     3
       See, e.g., Gov’t Code § 7284.2(c); 2016 Cal. Legis. Serv. Ch. 768 § 2(i) (the “TRUTH Act”); 2013 Cal. Legis.
28   Serv. Ch. 570 § 1(d) (the “TRUST Act”); Cal. Penal Code § 422.93(a).
                                                              4
                    Plaintiff State of California’s Motion for Summary Judgment (3:17-cv-04701-WHO)
     Case 3:17-cv-04701-WHO Document 116 Filed 07/09/18 Page 14 of 45



 1   53. The need to foster trust with immigrant communities has become more critical in light of data
 2   showing declines in the State’s immigrant communities reporting crimes in the face of the federal
 3   government’s expanded immigration enforcement priorities. RJN Exs. 9, 10.
 4         The State’s declaratory relief claim involves two sets of California statutes: (a) statutes
 5   regulating when LEAs may assist in federal immigration enforcement (the TRUST, TRUTH, and
 6   Values Acts); and (b) six “State Confidentiality Statutes” (Penal Code §§ 422.93, 679.10, and
 7   679.11, Welfare and Institutions Code §§ 827 and 831, and Code of Civil Procedure § 155).
 8         A.    The TRUST, TRUTH, and Values Acts and California’s Implementation
 9          In 2013, California enacted the TRUST Act, Gov’t Code § 7282 et seq., which defined
10   when local LEAs could detain an individual for up to 48 hours after their ordinary release due to a
11   detainer request. RJN Ex. 6. In 2016, the State enacted the TRUTH Act, Gov’t Code § 7283 et
12   seq., which increases transparency about local LEAs’ involvement in immigration enforcement
13   and requires notifications to inmates prior to an interview with immigration authorities, but does
14   not prohibit access to jails. Id. § 7283.1(a).
15         On October 5, 2017, Governor Brown signed into law the Values Act, Gov’t Code § 7284
16   et seq., which expands upon the TRUST and TRUTH Acts. The Values Act addresses the
17   Legislature’s concern with limiting the use of state and local law enforcement resources for
18   immigration enforcement and preserving community trust between state and local governments
19   and the State’s immigrant communities. Id. § 7284.2. Two provisions are relevant here. First, the
20   Values Act amends the TRUST Act to regulate LEAs’ response to “notification requests,” which
21   are requests by immigration authorities to be informed, “in advance of the public,” about “the
22   release date and time . . . of an individual in . . . custody.” Id. §§ 7282.5(a), 7283(f),
23   7284.6(a)(1)(C); see also RJN Ex. 11 (I-247A “detainer” form with notification requests). The
24   Values Act imposes some specified constrains on LEAs sharing of release dates, but allows them
25   to notify immigration authorities about the release date of anyone who has been previously
26   convicted of one of hundreds of crimes, or if the information is “available to the public.” Gov’t
27   Code §§ 7282.5(a), 7284.6(a)(1)(C). Second, the Values Act prohibits the use of LEA money or

28   personnel to “provid[e] personal information,” as defined in California Civil Code § 1798.3,
                                                     5
                   Plaintiff State of California’s Motion for Summary Judgment (3:17-cv-04701-WHO)
     Case 3:17-cv-04701-WHO Document 116 Filed 07/09/18 Page 15 of 45



 1   about individuals, including victims and witnesses of crime, “for immigration enforcement
 2   purposes,” unless that information is “available to the public.” Id. § 7284.6(a)(1)(D).
 3         The Values Act also permits many other forms of cooperation with immigration authorities.
 4   The Values Act provisions at issue in this case do not apply to the California Department of
 5   Corrections and Rehabilitation (CDCR), id. § 7284.4(a), which continues to cooperate with ICE,
 6   including by responding to notification requests and transferring persons in state custody to
 7   immigration authorities. RJN Exs. 12-16; see also Pen. Code §§ 5025-26 (requiring CDCR to
 8   cooperate with immigration authorities and to identify and refer “names and locations” of those in
 9   CDCR’s custody who may be subject to deportation to immigration authorities). The Values Act
10   does not restrict LEAs from sharing criminal-history information from California law
11   enforcement databases accessible to immigration authorities. Gov’t Code § 7284.6(b)(2); Reich
12   Decl. ¶ 12. It also permits LEAs to participate in task forces with immigration authorities or share
13   confidential information if the “primary purpose” of the task force is not immigration
14   enforcement. Gov’t Code § 7284.6(b)(3)(A). The Values Act explicitly permits jurisdictions to
15   allow immigration authorities access to jails. Id. § 7284.6(b)(5). And, the Values Act expressly
16   authorizes compliance with all aspects of § 1373. Id. § 7284.6(e).
17         On March 28, 2018, the California Department of Justice Division of Law Enforcement
18   (DLE) provided guidance to LEAs about compliance with these state statutes. See RJN Ex. 17.
19   The guidance reiterated that all LEAs are authorized to comply with § 1373. Id. at 3, 7. The
20   guidance reminds LEAs of all of the circumstances where they may share release dates and other
21   personal information, including when the information is “available to the public.” Id. at 3, 5. It
22   explains that “‘available to the public’ refers to information where a law enforcement agency has
23   a practice or policy of making such information public, such as disclosing the information on its
24   website or it has a practice or policy of providing the information to individuals in response to
25   specific requests,” so long as the LEA complies with state and federal privacy laws. Id. at 3.
26         During discovery, California produced “policies, manuals, bulletins, and orders” applicable
27   to the only state LEA that receives JAG or COPS funding, the Bureau of Investigation’s (BI),

28   communications with immigration authorities. Sherman Decl. Ex. A (CA RFP Resp. 5). Among
                                                   6
                  Plaintiff State of California’s Motion for Summary Judgment (3:17-cv-04701-WHO)
     Case 3:17-cv-04701-WHO Document 116 Filed 07/09/18 Page 16 of 45



 1   the documents produced were DLE’s policy manual and all manuals for the BI task forces funded
 2   through JAG and the COPS CAMP grant. Caligiuri Decl. ¶ 11, Exs. A-B. There is nothing in this
 3   record showing BI has restricted the exchange of information with immigration authorities
 4   beyond the limitations contained in California law. It is also undisputed that the Values Act has
 5   not affected immigration authorities’ access to addresses in three state-run criminal history
 6   databases. See Gov’t Code § 7284.6(b)(2); Reich Decl. ¶¶ 6-12 & Exs. A-C.
 7          B.     California’s Confidentiality Statutes
 8          To ensure the proper operation of state and local criminal and juvenile justice systems,
 9   California law contains long-standing protections of sensitive information concerning victims,
10   witnesses, and juveniles. Penal Code §§ 679.10 and 679.11 prohibit entities that certify a person’s
11   cooperation with law enforcement from “disclosing the immigration status of a victim” or other
12   person requesting certification “except to comply with federal law or legal process, or if
13   authorized by the victim or person requesting [the certification form].” Id. §§ 679.10(k),
14   679.11(k); see also RJN Ex. 18. These protections impact thousands of immigrants who
15   cooperate with law enforcement each year. 4 Penal Code § 422.93(b) protects hate-crime victims
16   and witnesses “not charged with or convicted of committing any crime under State law” from
17   being “detain[ed] . . . exclusively for any actual or suspected immigration violation or report[ed]
18   or turn[ed] . . . over to federal immigration authorities.” The State has also found confidentiality
19   for juveniles essential “to avoid[ing] stigma and promot[ing] rehabilitation.” Welf. & Inst. Code §
20   831(a). Generally, information in juvenile court records is confidential, with only limited

21   disclosure allowed. Id. § 827; Cal. R. of Ct. 5.552(b)-(c). Consistent with that rule, the State

22   implemented its role in the federal Special Immigrant Juvenile process by requiring that

23   “information regarding the child’s immigration status . . . remain confidential” with disclosure

24   permitted to only a handful of enumerated parties. Civ. Proc. Code § 155(c). Information about a

25   child’s immigration status in any juvenile court proceeding must “remain confidential” just like

26   all other information in the youth’s court records. Welf. & Inst. Code § 831(e).

27
     4
      For example, in 2016, the year § 679.10 came into effect for U-visa applicants, L.A. County received twice as many
28   applications as the year before (954 in total, 80% of which were certified). McDonnell Decl., ECF 31, ¶ 14.
                                                             7
                    Plaintiff State of California’s Motion for Summary Judgment (3:17-cv-04701-WHO)
     Case 3:17-cv-04701-WHO Document 116 Filed 07/09/18 Page 17 of 45



 1   III. THE JAG AUTHORIZING STATUTE AND THE STATE’S JAG AND COPS GRANTS
 2         Under its authorizing statute, JAG is a formula grant guaranteeing to each state a minimum

 3   allocation based on the state’s population and violent crime rate. 34 U.S.C.§ 10156(a). The

 4   current JAG program derives from two earlier programs, which were merged in 2006. RJN Exs.

 5   19, 20. The merger was designed to provide state and local governments “more flexibility to

 6   spend money for programs that work for them rather than to impose a ‘one size fits’ all solution.”

 7   H.R. Rep. 109-233, at 89 (2005). Immigration enforcement was never listed as a purpose of

 8   JAG’s predecessor programs, and is not contemplated by any of the current program’s eight

 9   congressionally specified “purpose areas.” 34 U.S.C. § 10152(a)(1). Of particular significance,

10   the only immigration-related requirement that has ever existed in any iteration of JAG (i.e., a

11   requirement that the recipient state provide certified records of “criminal convictions of aliens” 5)

12   was repealed by Congress in 2006 as part of the merger legislation. See 34 U.S.C. § 10153(a).

13         California’s Board of State and Community Corrections (“BSCC”) is the state entity that

14   receives the State’s share of JAG funds. According to the statutory formula, California should

15   have received $28.3 million in JAG funding for FY 2017: $17.7 million to the BSCC, and the rest

16   directly to local jurisdictions. Jolls Decl., ECF 29, ¶ 5. In previous years, the BSCC has issued

17   subgrants to 32 local jurisdictions for education and crime prevention, law enforcement, and court

18   programs. Id. ¶¶ 8, 10 & Ex. A. The BSCC also has funded BI to support task forces focused on

19   criminal drug enforcement, violent crime, and gang activity. Id. ¶ 10; Caligiuri Decl. ¶ 27. BI

20   additionally receives COPS competitive grants to support law enforcement efforts, including

21   work on multi-jurisdictional task forces. Caligiuri Decl. ¶ 13. BI uses its COPS Anti-

22   Methamphetamine Program (“CAMP”) grant to provide State leadership on a task force that has

23   resulted in the seizure of upwards of $30 million of illegal drugs since 2015. See id. ¶¶ 14-19.

24   IV.   DEFENDANTS’ CONDUCT WITH RESPECT TO JAG AND COPS GRANTS

25         In FY 2016, USDOJ declared § 1373 an “applicable law” for JAG, AR-384 6, and

26   specifically required BSCC to submit a legal opinion validating its compliance with § 1373. Jolls

27   5
       Immigration Act of 1990, Pub. L. 101-649, § 507(a); Misc. and Tech. Immigration and Naturalization Amend. of
     1991, Pub. L. 102-232, § 306(a)(6) (repealed 2006).
28   6
       The Administrative Record was filed at ECF 96.
                                                            8
                    Plaintiff State of California’s Motion for Summary Judgment (3:17-cv-04701-WHO)
     Case 3:17-cv-04701-WHO Document 116 Filed 07/09/18 Page 18 of 45



 1   Decl. Ex. B, ¶ 55. For FY 2017, each grant recipient’s chief law officer must sign an affidavit,
 2   under penalty of perjury, affirming compliance with § 1373 on behalf of the State and “any entity,
 3   agency, or official” as applicable to the “program or activity to be funded.” AR-1032-33; see also
 4   RJN Ex. 21. USDOJ represented final award conditions require grantees to collect § 1373
 5   certifications from all subgrant recipients, monitor their subgrantees’ compliance with § 1373 and
 6   to notify USDOJ of noncompliance. AR-994.
 7         In 2017, Defendants sent letters to 38 state and local jurisdictions across the country,
 8   including to California and 12 of its political subdivisions, inquiring into their compliance with §
 9   1373 and threatening to strip their JAG funding. RJN Exs. 22-25. California responded that it
10   complies with § 1373. RJN Ex. 26. Defendants claim they are “still in the fact gathering stage”
11   and do not know “exactly when [they] will make a final determination” on the State’s compliance
12   with § 1373. Sherman Decl. Ex. B (Defs. Rog Resp. 5). However, the federal government’s filing
13   of United States. v. California removes all doubt that a final determination already exists and that,
14   in its view, the Values and TRUST Acts violate § 1373. See ECF 102 at 1.
15         In FY 2017, Defendants also added two new conditions to JAG. Jurisdictions must adopt
16   with respect to the “program or activity” to be funded, a statute, rule, regulation, policy, or
17   practice “designed to ensure” both: (1) “that agents of the United States . . . are given . . . access
18   [to] any State (or State-contracted) correctional facility for the purpose of permitting such agents
19   to meet with individuals who are (or are believed by such agents to be) aliens and to inquire as to
20   such individuals’ right to be or remain in the United States” (Access Condition); and (2) “that,
21   when a State (or State-contracted) correctional facility receives from DHS a formal written
22   request . . . that seeks advance notice of the scheduled release date and time for a particular alien
23   in such facility, then such facility will honor such request and–as early as practicable . . . provide
24   the requested notice to DHS” (Notification Condition). ECF 42-1, Ex. B ¶¶ 55-56.
25         On September 15, 2017, the Northern District of Illinois enjoined the imposition of the
26   Access and Notification Conditions nationwide. Chicago v. Sessions, 264 F. Supp. 3d 933, 951
27   (N.D. Ill. 2017). The Seventh Circuit upheld that decision. Chicago, 888 F.3d at 293. Defendants

28   refused to issue JAG awards until the injunction was lifted. See Letter from USDOJ, Chicago v.
                                                     9
                   Plaintiff State of California’s Motion for Summary Judgment (3:17-cv-04701-WHO)
     Case 3:17-cv-04701-WHO Document 116 Filed 07/09/18 Page 19 of 45



 1   Sessions, 17-2991, at *1 (7th Cir., sent June 14, 2018). When the Seventh Circuit partially stayed
 2   application of the injunction beyond Chicago, Defendants selectively issued $197.3 million worth
 3   of JAG awards nationwide. RJN Exs. 27, 28. State and local jurisdictions in California and five
 4   other states were entirely shut out from those JAG awards. See id.; Schmidt Decl. ¶ 13. At least
 5   17 local jurisdictions in the remaining 44 states have not been awarded JAG funds. See Sherman
 6   Decl. Ex. C. In total, Defendants withheld at least $56.6 million nationwide.
 7         USDOJ announced that COPS applicants for 2017 must execute a § 1373 certification of
 8   compliance, similar to the one requested for JAG, with respect to the “program or activity to be
 9   funded.” RJN Ex. 29 at 2 & Appx. D. 7 In FY 2017, BI applied for a COPS CAMP grant,
10   submitted the requested § 1373 certification with a supplemental statement, and was awarded the
11   grant. Caligiuri Decl. ¶¶ 22-23. However, Defendants have refused to allow BI to draw down
12   these grant funds pending their administrative review into California’s compliance with § 1373.
13   Id. Following the Court’s guidance in its order on the State’s motion for preliminary injunction,
14   BI decided to use the State’s own dollars to “cover” the costs of the grant “while the litigation
15   continues.” ECF 89 at 27; Caligiuri Decl. ¶¶ 24-25. The COPS award, however, contains a
16   provision prohibiting a recipient from using grant funds to replace dollars that the State already
17   expends on the same program, or as the award calls it, “supplanting.” RJN Ex. 31 at 5; ECF 91-1
18   at 14 n.4. Defendants, have refused to waive the supplanting prohibition in the COPS grant for
19   BI, Sherman Decl. ¶ 6 & Ex. D, raising the specter that Defendants will use the supplanting
20   prohibition to deny COPS funds to BI.
21                                                   ARGUMENT
22   I.    LEGAL STANDARD
23         Summary judgment is appropriate “if the movant shows there is no genuine issue as to any
24   material fact and the moving party is entitled to judgment as a matter of law.” Fed. R. Civ. P.
25   56(a). In a challenge to agency action, “the district judge sits as an appellate tribunal,” and
26   “review is a question of law.” Am. Bioscience, Inc. v. Thompson, 269 F.3d 1077, 1083 (D.C. Cir.
27
     7
      USDOJ inserted the same requirements into the FY 2018 COPS CAMP application. RJN Ex. 30 at 11 & Appx. E.
28   BI applied for that grant on June 27 with the certification and a supplemental statement. Caligiuri Decl. ¶ 26.
                                                            10
                    Plaintiff State of California’s Motion for Summary Judgment (3:17-cv-04701-WHO)
     Case 3:17-cv-04701-WHO Document 116 Filed 07/09/18 Page 20 of 45



 1   2001). The “function of the district court is to determine whether or not as a matter of law the
 2   evidence in the administrative record permitted the agency to make the decision it did.”
 3   Occidental Eng’g Co. v. INS, 753 F.2d 766, 769 (9th Cir. 1985).
 4   II.   DEFENDANTS LACK STATUTORY AUTHORITY TO IMPOSE THE ACCESS AND
           NOTIFICATION CONDITIONS (COUNTS 1 AND 3)
 5

 6         Defendants’ unauthorized imposition of the Access and Notifications Conditions violates
 7   the Separation of Powers. Congress—not the Executive Branch—holds power under the
 8   Spending Clause “to set the terms on which it disburses federal money to the States.” Arlington
 9   Cent. Sch. Dist. Bd. of Educ. v. Murphy, 548 U.S. 291, 296 (2006). “[I]f Congress intends to
10   impose a condition on the grant of federal moneys, it must do so unambiguously.” Pennhurst
11   State Sch. & Hosp. v. Halderman, 451 U.S. 1, 17 (1981). Defendants cannot unilaterally insert
12   conditions into grant awards without clear authorization from Congress. See City of Arlington,
13   Tex. v. FCC, 569 U.S. 290, 297 (2013).
14         As every federal court to consider the issue has concluded, the Access and Notification
15   Conditions violate these principles. Congress “did not impose any immigration enforcement
16   conditions on the receipt of [JAG] funds,” and Defendants cannot “use[] the sword of federal
17   funding to conscript state and local authorities to aid in federal civil immigration enforcement.”
18   Chicago, 888 F.3d at 277; Philadelphia, 2018 WL 2725503, at *25 (holding the conditions
19   “violate the constitutional principle of separation of powers”); accord Los Angeles v. Sessions,
20   293 F. Supp. 3d 1087, 1097 (C.D. Cal. 2018) (substantively similar conditions were ultra vires
21   because the authorizing statute “does not plainly or even arguably authorize the Attorney

22   General” to add the conditions). In short, the Executive Branch has no authority “to condition the

23   payment of such federal funds on adherence to its political priorities.” Chicago, 888 F.3d at 283.

24         Congress prescribed only ministerial requirements and certifications for JAG recipients,

25   e.g., 34 U.S.C. § 10153(a)(5), and did not provide “open-ended authority to impose additional

26   conditions.” Chicago, 888 F.3d at 285 (“the notion of a broad grant of authority to impose any

27   conditions on grant recipients is at odds with the nature of the[] JAG grant, which is a formula

28   grant”); see also Jama v. ICE, 543 U.S. 335, 341 (2005) (courts will “not lightly assume that
                                                    11
                  Plaintiff State of California’s Motion for Summary Judgment (3:17-cv-04701-WHO)
     Case 3:17-cv-04701-WHO Document 116 Filed 07/09/18 Page 21 of 45



 1   Congress has omitted from its adopted text requirements that it nonetheless intends to apply”).
 2   “None of [the] provisions” of the JAG statute “grant the Attorney General the authority to impose
 3   conditions that require state or local governments to assist in immigration enforcement, nor to
 4   deny funds to states or local governments for the failure to comply with those conditions.”
 5   Chicago, 888 F.3d at 284; see also State Highway Comm’n of Mo. v. Volpe, 479 F.2d 1099, 1109
 6   (8th Cir. 1973) (holding that agency did not have “unfettered discretion as to when and how” to
 7   allocate formula grants that “circumscribes that discretion”).
 8         Congress’s overarching goal in creating JAG was to provide state and local governments
 9   with “more flexibility to spend money for programs that work for them rather than to impose a
10   ‘one size fits all’ solution” to local law enforcement. H.R. Rep. 109-233, at 89 (2005). Consistent
11   with this goal, when creating the current program, it repealed the only immigration related
12   requirement that ever existed. Supra at 8. Defendants’ attachment of the Access and Notification
13   Conditions imposes the very type of immigration condition that Congress repealed. See Stone v.
14   INS, 514 U.S. 386, 397 (1995) (“When Congress acts to amend a statute, we presume it intends
15   its amendment to have real and substantial effect.”). Congress has also repeatedly declined to
16   attach similar conditions to JAG, see, e.g., RJN Exs. 32-35, including most recently on June 21,
17   2018. RJN Ex. 36 (House voting down HR 4760 by vote of 231-193).
18         The Access and Notification Conditions cannot be justified by 34 U.S.C. § 10102(a)(6), as
19   Defendants’ interpretation of that provision “is contrary to the plain meaning of the statutory
20   language.” Chicago, 888 F.3d at 284. In 2006, when § 10102(a)(6) was amended to permit OJP to
21   “plac[e] special conditions on all grants,” the term “special conditions” had a precise meaning—
22   one that does not encompass the ability to add the Access and Notification Conditions. According
23   to a USDOJ regulation in place at the time, Defendants could impose “special grant or subgrant
24   conditions” only on “high-risk” grantees. 28 C.F.R. § 66.12 (removed Dec. 19, 2014). USDOJ
25   still embraces this narrow meaning of “special condition” by distinguishing the new § 1373
26   “Special Award Condition” added to BI’s COPS grant as a “High Risk Condition,” RJN Ex. 31 at
27   20, while identifying other conditions as “Award Terms and Conditions.” Id. at 5.

28
                                                        12
                  Plaintiff State of California’s Motion for Summary Judgment (3:17-cv-04701-WHO)
     Case 3:17-cv-04701-WHO Document 116 Filed 07/09/18 Page 22 of 45



 1          Moreover, § 10102(a)(6) is an OJP administrative provision that lies outside the JAG
 2   authorizing statute. Congress does not “alter the fundamental details of a regulatory scheme” in
 3   such “vague terms or ancillary provisions.” Whitman v. Am. Trucking Ass’ns, 531 U.S. 457, 468
 4   (2001). The Seventh Circuit found it “inconceivable that Congress would have anticipated that
 5   [USDOJ] could abrogate the entire distribution scheme” such that the “tightly-circumscribed
 6   structure of the[] JAG grants can be upended by some unbounded authority in § 10102.” Chicago,
 7   888 F.3d at 286. Instead, the Seventh Circuit recognized that § 10102(a)(6) “merely exemplifie[s]
 8   the type of other powers that the Assistant Attorney General may possess by delegation
 9   elsewhere.” Id. at 285. Interpreting § 10102(a)(6) to provide limitless agency discretion “would
10   allow [Defendants] to impose any conditions on the grants at will,” and transform an
11   administrative provision into “a tremendous power of widespread impact.” Id. at 285, 287.
12          When Congress wanted to add substantive compliance conditions to JAG, it has done so
13   explicitly. E.g., 34 U.S.C. § 20927(a) (permitting 10 percent penalty for failing to “substantially
14   implement” the Sex Offender Registration and Notification Act). Although “the Attorney General
15   is authorized by other statutes to reduce [JAG] funding in certain circumstances . . . even then the
16   amount of the reduction is set by statute.” Chicago, 888 F.3d at 286; see also Pennhurst, 451 U.S.
17   at 23. In contrast, there is no statutory authority that “even hint[s]” at requiring compliance with
18   the Access and Notification Conditions, or conferring a broad delegation of authority for JAG.
19   See Arlington Cent. Sch. Dist., 548 U.S. at 297. 8 All of Congress’s actions in connection with
20   JAG and otherwise—providing flexibility to jurisdictions, expressly removing a condition related

21   to immigration enforcement, repeatedly rejecting the attachment of funding conditions to

22   immigration enforcement, and using precise and narrow terminology to define the authority to

23   add conditions outside the JAG statute—point toward one conclusion: The Access and

24   Notification Conditions are not permitted. See FDA v. Brown & Williamson Tobacco Corp., 529

25   U.S. 120, 143-44, 155-56, 160 (2000) (considering all of Congress’s actions “[t]aken together” to

26

27   8
      Further undercutting the imposition of the Access and Notification Conditions is 34 U.S.C. § 10228(a), which is
     codified in the same chapter as the JAG authorizing statute, and prohibits the use of federal law enforcement grants to
28   exercise “any direction, supervision, or control” over a state or local police force or criminal justice agency.
                                                              13
                     Plaintiff State of California’s Motion for Summary Judgment (3:17-cv-04701-WHO)
     Case 3:17-cv-04701-WHO Document 116 Filed 07/09/18 Page 23 of 45



 1   conclude that “Congress could not have intended to delegate a decision of such economic and
 2   political significance to an agency in so cryptic a fashion”).
 3   III. ALL THREE JAG CONDITIONS VIOLATE THE SPENDING CLAUSE (COUNTS 2 AND 3)
 4         Congress may only use its spending power to place funding conditions that are related “to
 5   the federal interest in particular . . . programs.” South Dakota v. Dole, 483 U.S. 203, 207 (1987).
 6   Conditions on federal funds must also be “unambiguous,” so that recipient jurisdictions may
 7   “exercise their choice knowingly, cognizant of the consequences of their participation.”
 8   Pennhurst, 451 U.S. at 17. The Challenged Conditions fail both tests.
 9         A.    There is No Sufficient Nexus Between the Conditions and JAG’s Purpose

10         The Spending Clause requires funding conditions “bear some relationship to the purpose of
11   the federal spending,” New York v. United States, 505 U.S. 144, 167 (1992), and be “reasonably
12   calculated” to address the “particular . . . purpose for which the funds are expended.” Dole, 483,
13   U.S. at 208-09. All three conditions fail to have a sufficient nexus to the particular purpose of
14   JAG, and in fact undermine that purpose. The JAG legislative history is replete with recognition
15   of local control to support local public safety priorities. E.g., 151 Cong. Rec. 25, 919 (2005)
16   (statement of Sen. Dayton) (“Byrne grants fund local law enforcement to combat the most urgent
17   public safety problems in their own communities.”). That purpose is reflected in the program’s
18   structure, which affords recipients flexibility to use funds for any of the eight criminal justice
19   purposes—none of which include immigration enforcement. See 34 U.S.C. § 10152(a)(1).
20         The Challenged Conditions, which pertain to federal civil immigration enforcement, have

21   little connection to local criminal justice. See AR-992 (AG Sessions announcing the conditions

22   will “ensur[e] that federal immigration authorities have the information they need to enforce

23   immigration laws.”). Many immigration violations (such as overstaying a visa) do not intersect

24   with criminal law at all, as those violations are subject only to civil penalties. E.g., 8 U.S.C. §§

25   1182(a)(6)(A) & (9)(B), 1202(g); 1227(a)(1)(B). The Administration’s expanded focus on the

26   removal of all “classes or categories of removable aliens,” RJN Ex. 37 at 2, has only reinforced

27   the attenuated relationship between these conditions and local criminal justice purposes. Since

28   2017, immigration authorities have substantially increased enforcement against those without
                                                    14
                   Plaintiff State of California’s Motion for Summary Judgment (3:17-cv-04701-WHO)
     Case 3:17-cv-04701-WHO Document 116 Filed 07/09/18 Page 24 of 45



 1   criminal convictions. RJN Ex. 3 at 7 (150% increase in ICE at-large arrests for non-criminal
 2   immigration violators between FY 2016 and FY 2017); Ex. 38 (approximate doubling of non-
 3   criminal immigration arrests nationally during the first six months of FY 2018); Ex. 39 (increase
 4   from 1,000 to 3,400 non-criminal arrests in California during that same time). Since Defendants
 5   consider those who have not been convicted of a crime within the scope of § 1373, Sherman Decl.
 6   Ex. E (Defs. RFA Resp. 18), the § 1373 Condition requires the State to comply with respect to
 7   persons who only violated the civil laws. Such a condition does not “share[] the same goal” that
 8   Congress had in creating JAG. Charles v. Verhagen, 348 F.3d 601, 609 (7th Cir. 2003).
 9         B.    The Access and Notification Conditions are Ambiguous
10         In addition, the Access and Notification Conditions do not provide clear notice of what the
11   conditions require. Defendants have not identified a single statute that provides guidance on these
12   conditions and have not issued specific guidance themselves. For example, the conditions fail to
13   explain whether the undefined term “designed to ensure” means that a jurisdiction must adopt a
14   policy specifically directed to the conditions, or whether general regulations or practices are
15   sufficient. See ECF 42-1, Ex. B ¶¶ 55, 56. When asked in discovery whether the TRUTH Act
16   would disqualify the State for funding based on the Access Condition, Defendants refused to
17   answer, stating it would depend on the “interpretation and application in specific factual
18   scenarios.” Sherman Decl. Ex. E (Defs. RFA Resp. 39). Defendants also refused to clarify which
19   state entities they consider to be within the “program or activity” of the BSCC’s award, and thus
20   subject to the conditions. Id. Ex. B (Defs. Rog. Resp. 21). The conditions’ “vague language does
21   not make clear what conduct [they] proscribe[] or give[] jurisdictions a reasonable opportunity to
22   avoid [their] penalties.” Santa Clara v. Trump, 250 F. Supp. 3d 497, 532 (N.D. Cal. 2017).
23   IV.   ALL THREE JAG CONDITIONS ARE ARBITRARY AND CAPRICIOUS (COUNT 4)
24          Courts must “hold unlawful and set aside agency action, findings and conclusions found
25   to be arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law.” 5
26   U.S.C. § 706(2)(A). As the Court has already determined, there is no question that the imposition
27   of the Challenged Conditions is “final agency action” because it is the “consummation of the

28   agency’s decision making process” and determines “obligations . . . from which legal
                                                  15
                  Plaintiff State of California’s Motion for Summary Judgment (3:17-cv-04701-WHO)
     Case 3:17-cv-04701-WHO Document 116 Filed 07/09/18 Page 25 of 45



 1   consequences flow.” ECF 89 at 19-20 (relying on Bennett v. Spear, 520 U.S. 154, 177-78 (1997)).
 2   The Court also observed that it was “not clear” that the § 1373 Condition has the “requisite
 3   rational connection” necessary for Defendants to impose the condition. See id. at 21 (quoting
 4   Motor Vehicle Mfrs. Ass’n of the U.S. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983)).
 5   The full Administrative Record does not ameliorate the Court’s previous concern as to the § 1373
 6   Condition, nor justify the imposition of the Access and Notification Conditions. Rather, as the
 7   Philadelphia court determined when considering a virtually identical record, “if anything, the
 8   Administrative Record bolsters [the] view that the DOJ’s decision to tie the Byrne JAG funds to
 9   the Challenged Conditions was arbitrary and capricious.” Philadelphia, 2018 WL 2725503, at
10   *28. The Administrative Record shows Defendants: (a) relied on factors Congress did not intend
11   for it to consider; (b) failed to consider an important aspect of the problem the agency is
12   addressing; and (c) offered an explanation for its decision that runs counter to the evidence before
13   the agency. State Farm, 463 U.S. at 43. Any of these defects would suffice to find the Challenged
14   Conditions arbitrary and capricious. All three exist here.
15         First, Defendants have not, and cannot, demonstrate that they acted consistent with factors
16   that Congress intended in imposing any of the Challenged Conditions. The Access and
17   Notification Conditions have no support in the JAG statute. Supra at 11-12. And although the
18   JAG statute has never been linked to § 1373, without offering any evidence that Congress
19   intended immigration enforcement to be a purpose area for JAG, USDOJ declared § 1373 an
20   “applicable federal law.” AR-384. At no point have Defendants adequately explained how the
21   conditions are consistent with the underlying goals of JAG, or with Congress’s intent in adopting
22   JAG. The federal government’s interest in immigration enforcement is not enough to show that
23   interest is sufficiently connected to JAG to satisfy the arbitrary and capricious analysis. See Cape
24   May Greene, Inc. v. Warren, 698 F.2d 179, 186-87 (3d Cir. 1983) (invalidating agency action on
25   grant conditions where the agency sought “to accomplish matters not included in that statute”).
26         Second, Defendants have failed to grapple with the important public safety repercussions of
27   the Challenged Conditions. Providence Yakima Med. Ctr. v. Sebelius, 611 F.3d 1181, 1190 (9th

28   Cir. 2010) (“The agency . . . is required to examine the relevant data and articulate a satisfactory
                                                      16
                   Plaintiff State of California’s Motion for Summary Judgment (3:17-cv-04701-WHO)
     Case 3:17-cv-04701-WHO Document 116 Filed 07/09/18 Page 26 of 45



 1   explanation for its action including a rational connection between the facts found and the choices
 2   made . . .”). The Administrative Record contains evidence from JAG recipient jurisdictions that
 3   “gain[ing] the trust and cooperation of . . . residents, crime victims and witnesses . . . regardless of
 4   their immigration status” makes the “community stronger and . . . streets safer.” AR-640; see also
 5   AR-487, AR-722. Yet, Defendants responded by not just keeping the § 1373 Condition, but
 6   adding the Access and Notification Conditions, without any consideration or analysis beyond the
 7   vague rhetoric in the documents announcing these new conditions. See AR-992-1037.
 8          Third, Defendants’ explanation for the Conditions runs counter to the evidence before the
 9   agency. This Court previously analyzed three reasons cited by Defendants and found each to be
10   insufficient to justify the § 1373 Condition. For example, in their earlier briefing, Defendants
11   alleged the § 1373 Condition was needed because of jurisdictions’ refusal “to cooperate with
12   federal immigration authorities in information sharing about undocumented immigrants who
13   commit crimes.” ECF 89 at 21. But, this Court determined that the “language of Section 1373 is
14   too broad to achieve this information sharing goal” because it “captures the immigration status of
15   all people” and not “merely immigrants who have committed crimes.” Id. The other reasons that
16   the Court found insufficient to support the § 1373 Condition are just as unpersuasive now for all
17   three Challenged Conditions. 9 “DOJ has not anywhere demonstrated a link between localities
18   maintaining as confidential the immigration status of non-criminal aliens or citizens and increases
19   in crime and violence.” Philadelphia v. Sessions, 280 F. Supp. 3d 579, 624 (E.D. Pa. 2017).
20          This Court previously based its analysis on the Backgrounder on Grant Requirements, ECF

21   89 at 21, and nothing within the rest of the Administrative Record justifies a different result. The

22   press release, AR-993, to which the Backgrounder was attached made claims about “sanctuary”

23   jurisdictions and the need for the Challenged Conditions “without any support whatsoever.”

24   Philadelphia, 280 F. Supp. 3d at 623. Nor does the 2016 Office of Inspector General (“OIG”)

25   Memorandum, AR-366-381, discuss or contemplate how the conditions are consistent with

26   9
       In addition, this Court recognized that Defendants’ second concern with awarding federal funds to jurisdictions that
     “frustrate federal immigration enforcement” is not addressed by the conditions since JAG funds “are used for
27   purposes unrelated to immigration enforcement.” Finally, the Court found Defendants’ assertion that jurisdictions
     with policies like California “jeopardize the safety of their residents and undermine [Defendants’] ability to protect
28   the public and reduce crime and violence” to be “unsupported” by the evidence in front of the agency. Id.
                                                              17
                     Plaintiff State of California’s Motion for Summary Judgment (3:17-cv-04701-WHO)
     Case 3:17-cv-04701-WHO Document 116 Filed 07/09/18 Page 27 of 45



 1   Congress’s intent in adopting JAG or the contrary evidence before the agency. See Philadelphia,
 2   280 F. Supp. 3d at 624 (“the memorandum did not purport to assess the wisdom” of imposing a
 3   Section 1373 Condition “and its effect on immigration policy or criminal justice”); see also Nat’l
 4   Cable & Telecomms. Ass’n v. Brand X Internet Servs., 545 U.S. 967, 981 (2005). A 2007 OIG
 5   Report about a different federal grant program similarly “does nothing to change the analysis”
 6   and “can hardly explain the DOJ’s decision.” Philadelphia, 2018 WL 2725503 at 26-27.
 7         Moreover, all of the Challenged Conditions depart from past practice without any
 8   explanation. See Nw. Envtl. Def. Ctr. v. Bonneville Power Admin., 477 F.3d 668, 690 (9th Cir.
 9   2007). USDOJ administered the current version of JAG for a decade without these conditions,
10   and Defendants have fallen short of their “duty to explain why [they] deemed it necessary to
11   overrule its previous position.” Encino Motorcars, LLC v. Navarro, 136 S. Ct. 2117, 2126 (2016).
12   Instead, the Administrative Record offers undeniable evidence that USDOJ: (a) has limited
13   discretion when administering a formula grant; and (b) understood negative consequences would
14   result from linking § 1373 to JAG. USDOJ acknowledged its limited discretion to add new grant
15   conditions on multiple occasions. In response to a request to “implement . . . a certification” on
16   grants requiring “cooperat[ion] with federal immigration laws,” AR-111, USDOJ responded in
17   September 2015 that “many Department grant funds are formula-based, with the eligibility
18   criteria (and related penalties, if any) set firmly by statute.” AR-113. USDOJ explicitly
19   recognized that “[i]n many cases,” as with JAG, it “does not have the discretion to suspend
20   funding at all.” Id. (emphasis added). Just five months later, then-AG Loretta Lynch informed
21   Congress that USDOJ was creating a new “policy” requiring compliance with § 1373 due to
22   USDOJ “discussions” with select members of Congress. AR-202. Yet, USDOJ did not provide, at
23   that time or since, justification for the “policy” change in light of the evidence before it.
24         Further, USDOJ found “[w]itholding . . . funding would have a significant, and unintended,
25   impact on the underserved populations who benefit” from the grant programs “most of whom
26   have no connection to immigration policy.” AR-113. This was consistent with a longstanding law
27   enforcement view, apparent from the Administrative Record, that such actions would be

28   “detrimental.” AR-85 (Major Cities Chiefs of Police Statement: “Merely shifting or diverting
                                                   18
                   Plaintiff State of California’s Motion for Summary Judgment (3:17-cv-04701-WHO)
     Case 3:17-cv-04701-WHO Document 116 Filed 07/09/18 Page 28 of 45



 1   federal funding . . . to any new immigration enforcement initiative would only result in a
 2   detrimental net loss”). When asked specifically by Congress about “policies that prohibit
 3   reporting illegal status” of individuals, AG Lynch responded that “with the current state of the
 4   law,” and as to “local jurisdictions,” this is “a local matter.” AR-273. USDOJ’s dramatic change
 5   in position has not been accompanied by the “reasoned explanation” that is required when an
 6   agency “disregard[s] facts and circumstances that underlay or were engendered by the prior
 7   policy.” FCC v. Fox Television Stations, Inc., 556 U.S. 502, 515-16 (2009).
 8   V.    THIS COURT SHOULD DECLARE THAT § 1373 CANNOT BE LAWFULLY ENFORCED
           AGAINST THE IDENTIFIED STATE LAWS (COUNT 5)
 9
           A.    Murphy Confirms § 1373 Cannot be Constitutionally Enforced Against the
10               State Laws
11         Section 1373 cannot be “constitutionally enforced against the State statutes,” FAC ¶ 153,
12   because § 1373 is unconstitutional on its face. The Supreme Court’s decision in Murphy confirms
13   that a prohibition directed at the States violates the anti-commandeering doctrine and the Tenth
14   Amendment just as much as an affirmative command. Murphy struck down the Professional and
15   Amateur Sports Protection Act (PASPA), which made it “unlawful” for a “governmental entity”
16   to “sponsor” or “authorize” sports betting. The Court held that this prohibition toward the states
17   violates the anti-commandeering rule because it “unequivocally dictates what a state legislature
18   may and may not do.” Murphy, 138 S. Ct. at 1478. Such prohibitions force “state legislatures [to
19   be] under the direct control of Congress. It is as if federal officers were installed in state
20   legislative chambers and were armed with the authority to stop legislators from voting on any
21   offending proposals. A more direct affront to state sovereignty is not easy to imagine.” Id.
22         Section 1373, like PASPA, is a prohibition on “state” or “local governmental entit[ies] or
23   official[s]”—specifically, it prohibits them from restricting governmental entities or officials from
24   exchanging information regarding a person’s immigration or citizenship status with other
25   governmental entities. This prohibition “dictates what a State legislature may and may not do.”

26   Defendants state that to comply with § 1373, California “must repeal or eliminate the law, policy,

27   or practice.” Sherman Decl. Ex. B (Defs. Rog. Resp. 7). And, because § 1373 is not a provision

28
                                                         19
                   Plaintiff State of California’s Motion for Summary Judgment (3:17-cv-04701-WHO)
     Case 3:17-cv-04701-WHO Document 116 Filed 07/09/18 Page 29 of 45



 1   “that regulates private actors,” under Murphy, it cannot possibly preempt state law. See 138 S. Ct.
 2   at 1479.
 3          Furthermore, the “whole object” of § 1373 is to “direct the functioning of the state
 4   executive,” Printz v. United States, 521 U.S. 898, 932 (1997), which is an additional intrusion on
 5   the State’s sovereignty absent in Murphy. “The choice as to how to devote law enforcement
 6   resources—including whether or not to use such resources to aid in federal immigration efforts—
 7   would traditionally be one left to state and local authorities.” Chicago, 888 F.3d at 282; see also
 8   Alden v. Maine, 527 U.S. 706, 752 (1999) (“[D]isplace[ment] [of] a State’s allocation of
 9   governmental power and responsibility” strikes at federalism). If Congress cannot direct a state
10   legislature in how to regulate its private residents engaging in sports betting, then it certainly
11   cannot direct the legislature on how to regulate its own law enforcement officers. See Gregory v.
12   Ashcroft, 501 U.S. 452, 460 (1991) (“Through the structure of its government . . . a State defines
13   itself as a sovereign.”).
14          In response to Philadelphia’s request for declaratory relief “that it complies with § 1373, as
15   constitutionally construed,” the court found Murphy dispositive and held that the § 1373
16   Condition is unconstitutional because it “requires compliance with an unconstitutional statute (in
17   this case, Section 1373).” Philadelphia, 2018 WL 2725503, at 31; see also E.D. Cal. Op. at 35
18   (finding constitutionality of § 1373 “highly suspect”). For all the reasons identified by the
19   Philadelphia court, this Court should likewise conclude that § 1373 is unconstitutional. 10
20          B.     Defendants’ Expansive Interpretation of § 1373 Cannot be Constitutionally
                   Enforced Against the State’s Laws
21

22          If § 1373 on its face survives after Murphy, Defendants still cannot constitutionally employ

23   it to strong-arm the State into allowing a vast assortment of personal information that it possesses

24   about its residents to be used for immigration enforcement. Judge Mendez is only the latest court

25   to reject Defendants’ interpretation because their view undermines the notion that § 1373 is “a

26   10
       Murphy also casts doubt on the Second Circuit’s decision in City of New York v. United States, 179 F.3d 29 (2d
     Cir. 1999). That decision was rooted in the view that § 1373’s prohibition did not violate the Tenth Amendment
27   because it did not “affirmatively conscript[]” nor “directly compel states or localities to require or prohibit anything.”
     Id. at 35. This is a “distinction” that Murphy found to be “empty.” 138 S. Ct. at 178; see also E.D. Cal. Op. at 51
28   (“…Murphy undercuts portions of the Second Circuit’s reasoning and calls its conclusion into question.”).
                                                                20
                     Plaintiff State of California’s Motion for Summary Judgment (3:17-cv-04701-WHO)
     Case 3:17-cv-04701-WHO Document 116 Filed 07/09/18 Page 30 of 45



 1   narrowly drawn information sharing provision.” See E.D. Cal. Op. at 52. Instead, such a broad
 2   “Congressional mandate prohibiting states from restricting their law enforcement agencies’
 3   involvement in immigration enforcement activities . . . would likely violate the Tenth
 4   Amendment.” Id. (“The Tenth Amendment analysis in Murphy supports this conclusion.”).
 5   Specifically, Defendants’ interpretation invades “the Constitution’s structural protections of
 6   liberty,” undermines political accountability, and “shift[s] the costs of regulation to the States.”
 7   Murphy, 138 S. Ct. at 1477 (discussing three reasons for anti-commandeering doctrine).
 8         Defendants consider § 1373 as a “very broad” statute. RJN Ex. 40 at 141:25-142:1, 149:17-
 9   23. Under their interpretation of § 1373, Defendants require the State to allow the disclosure of
10   any “alien’s” address, “location information,” release date, date of birth, familial status, contact
11   information, and identity. Sherman Decl. Ex. E (Defs. RFA Resps. 9-16). Moreover, Defendants
12   expansively interpret the phrase “information . . . regarding immigration status” as prohibiting
13   restrictions on any information that “supports federal immigration authorities in performing their
14   duties under the INA.” Id. Ex. B (Defs. Rog. Resp. 17); see also id. 6. By tying “information
15   regarding . . . immigration status” to anything that supports immigration authorities’ “duties under
16   the INA,” Defendants’ interpretation requires the State to allow disclosure of a person’s medical,
17   e.g., 8 U.S.C. § 1182(a)(1), educational, e.g., id. § 1101(a)(15)(F)(i), and financial records, e.g.,
18   id. § 1186b(d)(1). Other INA provisions allow an immigration officer to consider “any
19   information” about a person when evaluating his or her admission or continued stay in the United
20   States, further broadening the scope of information encompassed by Defendants’ view of § 1373.
21   See id. § 1225(a)(5); see also, e.g., id. § 1225(d)(3) (allowing consideration of “any matter which
22   is material and relevant to the enforcement of this Act”); id. § 1446 (authorizing immigration
23   officer to take testimony on “any matter touching or in any way affecting . . . admissibility” for
24   naturalization). The United States has, thus, “fail[ed] to provide a workable standard” to avoid
25   “information . . . regarding immigration status” swallowing whole aspects of the state’s provision
26   of services to its residents. See Presley v. Etowah Cty. Comm’n, 502 U.S. 491, 504 (1992).
27         Not only do Defendants fail to establish a limiting principle for the information covered by

28   § 1373, under Defendants’ theory, “Section 1373 requires California to allow LEAs to respond to
                                                   21
                   Plaintiff State of California’s Motion for Summary Judgment (3:17-cv-04701-WHO)
     Case 3:17-cv-04701-WHO Document 116 Filed 07/09/18 Page 31 of 45



 1   all inquiries” from federal immigration authorities about release dates and personal information.
 2   Sherman Decl. Ex. B (Defs. Rog. Resps. 17, 18) (emphasis added). There are no exceptions,
 3   according to Defendants, id. (Defs. Rog. Resp. 7), including when a person has not been
 4   convicted of a crime. Id. Ex. E (Defs. RFA Resp. 38). The federal government has confirmed that
 5   it considers § 1373 as potentially invalidating state and federal privacy statutes. RJN Ex. 40 at
 6   153:12-20. Indeed, the Department of Homeland Security (DHS) has already sought to invalidate
 7   at least two of the State’s Confidentiality Statutes under the basis they violate § 1373. RJN Ex. 41
 8   at 5-6 (“[T]o the extent that section 827 . . . is applicable, it is preempted by 8 U.S.C. § 1373.”).
 9         To comply with Defendants’ interpretation of § 1373, California would have to allocate its
10   law enforcement resources to allow: (a) the exchange of essentially all information that is
11   provided to the State about all its “alien” residents; (b) regardless of whether those persons
12   committed a crime; and (c) every time the State is asked for this information. In addition, by
13   enforcing § 1373 against the State’s statutes, Defendants are not applying it to information
14   “available to the public,” see, e.g., Gov’t Code, § 7284.6(a)(1)(C)-(D), but to information that
15   “belongs to the State and is available to them in [law enforcement’s] official capacity.” Printz,
16   521 U.S. at 932 n.17. Under this interpretation, California’s only alternative would be to stop
17   providing essential governmental services, including enforcing the State’s generally applicable
18   criminal laws against its “alien” residents, that result in the collection of any information that
19   Defendants assert is encompassed by § 1373. See United States v. Morrison, 529 U.S. 598, 618
20   (2000) (“[W]e can think of no better example of the police power which the Founders denied the
21   National Government and reposed in the States, than the suppression of violent crime and
22   vindication of its victims.”). Thus, in order to comply with § 1373, California would be left with
23   no “legitimate choice” to decline participation in the federal government’s immigration
24   enforcement program. See New York, 505 U.S. at 177, 185.
25         This interpretation of § 1373 burdens the State in at least two significant respects. See ECF
26   89 at 26. First, entangling state and local law enforcement with immigration enforcement erodes
27   community trust, which jeopardizes public safety and impedes the State’s ability to be politically

28   accountable to its residents. See Murphy, 138 S. Ct. at 1477; Printz, 521 U.S. at 921-22; E.D. Cal.
                                                     22
                   Plaintiff State of California’s Motion for Summary Judgment (3:17-cv-04701-WHO)
     Case 3:17-cv-04701-WHO Document 116 Filed 07/09/18 Page 32 of 45



 1   Op. at 50 (“[W]hen California assists federal immigration enforcement in finding and taking
 2   custody of immigrants, it risks being blamed for a federal agency’s mistakes [and] errors . . . .”).
 3   Unquestionably, trust is essential to encouraging victims and witnesses to report crime. Wong
 4   Decl. ¶¶ 4, 41-44, 52-53; see also id. ¶¶ 19-21, 30 (finding crime is lower in jurisdictions that
 5   limit entanglement with immigration enforcement); Hart Decl. ¶¶ 9, 11; Goldstein Decl. ¶ 5;
 6   Rosen Decl. ¶¶ 4, 8; see also Chicago, 888 F.3d at 280 (recognizing legitimate reasons why some
 7   jurisdictions “have determined that their local law enforcement efforts are handcuffed by such
 8   unbounded cooperation with immigration enforcement”). It is just as clear that state or local
 9   governments entanglement with immigration enforcement causes undocumented immigrants to be
10   less inclined to use public services that require providing contact information, such as seeking
11   health care and enrolling their children in school. See Wong Decl. ¶¶ 39-40, 44; Goldstein Decl. ¶
12   7; see also City of New York, 179 F.3d at 36 (“The obtaining of pertinent information, which is
13   essential to the performance of a wide variety of state and local government functions, may in
14   some cases be difficult or impossible if some expectation of confidentiality is not preserved.”);
15   E.D. Cal. Op. at 51 (“Even perceived collaboration with immigration enforcement could upset the
16   balance California aims to achieve”). This damage would extend to the State’s dependency
17   system if the State was unable to preserve the confidentiality of information about youth. Coyne
18   Decl. ¶¶ 9-10. The State’s communities would be less safe, healthy, and educated, harms that
19   would be extend to all Californians. See Hart Decl. ¶¶ 7, 13, 14; Goldstein Decl. ¶ 9; Rosen Decl.
20   ¶ 6; Wong Decl. ¶¶ 4, 40, 44, 51, 53.
21         Second, Defendants’ interpretation of § 1373 would effectively allow the federal
22   government to “shift[] the costs of regulation to the States.” Murphy, 138 S. Ct. at 1477. For
23   example, ICE doubled the number of detainer requests issued to California LEAs from around
24   15,000 in FY 2016 to 30,000 in FY 2017. Supra at 4 n.2. Under Defendants’ theory, Sherman
25   Decl. Ex. B (Defs. Rog. Resp. 17), the State must allow its LEAs to respond to each request,
26   including requests for release dates, no matter how many and regardless of whether immigration
27   authorities continue to increase the number of requests they make of LEAs. That is both

28   burdensome to LEAs, see Hart Decl. ¶ 19, and impracticable for persons detained on a short-term
                                                   23
                   Plaintiff State of California’s Motion for Summary Judgment (3:17-cv-04701-WHO)
     Case 3:17-cv-04701-WHO Document 116 Filed 07/09/18 Page 33 of 45



 1   basis. Id. ¶ 20. The State is forced to “absorb the financial burden of implementing [this] federal
 2   regulatory program,” and divert resources from criminal law enforcement. Printz, 521 U.S. at
 3   930; see also E.D. Cal. Op. at 49-51 (finding it “entirely reasonable for the State to determine that
 4   assisting immigration enforcement . . . is a detrimental use of state law enforcement resources”).
 5   As in Printz, the Federal government is seeking to “augment[]” its own powers by “impress[ing]
 6   into its service—and at no cost to itself—the police officers of the 50 States.” 521 U.S. at 922.
 7         Since § 1373, or Defendants’ interpretation of it, constitutes commandeering, “a balancing
 8   analysis is inappropriate.” E.D. Cal. Op. at 48 (quoting Printz, 521 U.S. at 932); see ECF 102 at 2
 9   (requesting parties address whether a “balancing” of the constitutional interests is “necessary or
10   appropriate”). But, even if the Court determines that Defendants’ actions do not clearly rise to the
11   level of commandeering, Defendants’ interpretation of § 1373 still exceeds Congress’ authority
12   because of the level of intrusiveness into the state’s police power imposed by their interpretation.
13   For example, in United States v. Lopez, the Court read “judicially enforceable outer limits” into
14   the broad scope of the Commerce Clause when rejecting part of a federal statute that criminalized
15   possession of a firearm in a school zone. 514 U.S. 549, 566 (1995). The Court said the law erased
16   the distinction between “what is truly national and what is truly local.” Id. at 567-68. The Court
17   held similarly in United States v. Morrison, where the relationship of the Violence Against
18   Women Act to interstate commerce was insufficient to interfere with the “local . . . regulation and
19   punishment of intrastate violence.” 529 U.S. at 618. Here, by broadening § 1373 to invalidate
20   state statutes that in no way regulate immigration, Defendants stretch Congress’ immigration
21   powers beyond permissible limits while encroaching on the State’s sovereign powers to regulate
22   its law enforcement. See DeCanas v. Bicas, 424 U.S. 351, 355-56 (1976) (recognizing that
23   Congress is “powerless to authorize or approve” an immigration statute to preempt a state statute
24   that does not regulate “determination[s] of who should or should not be admitted into the country,
25   and the conditions upon which a legal entrant may remain”). Moreover, the federal government
26   seeks control over not just “immigration” and “citizenship status” information, but essentially all
27   information that LEAs possess about their residents, regardless of how far removed that

28   information is from a person’s right to enter or remain in the country. The principles of Lopez and
                                                       24
                  Plaintiff State of California’s Motion for Summary Judgment (3:17-cv-04701-WHO)
     Case 3:17-cv-04701-WHO Document 116 Filed 07/09/18 Page 34 of 45



 1   Morrison prohibit the federal government’s indirect use of immigration powers to so directly
 2   intrude into “truly local” aspects of the State’s police power. See Morrison, 529 U.S. at 618.
 3         C.    The State’s Laws Comply with § 1373 as Lawfully Construed
 4         An analysis based on the plain text of § 1373 compels the same result. As an initial matter,
 5   the Values and TRUST Acts comply with § 1373 because the Values Act’s savings clause
 6   expressly authorizes compliance with all aspects of § 1373 as properly construed. Gov’t Code §
 7   7284.6(e); see also Chamber of Commerce of the U.S. v. Whiting, 563 U.S. 582, 599 (2011) (the
 8   “authoritative statement” of a statute is its “plain text,” including its “savings clause”). Judge
 9   Mendez in U.S. v. California found “no direct conflict between SB 54 and Section 1373.” Op. at
10   36. Defendants attempt to create a conflict by interpreting § 1373 to encompass release dates,
11   addresses, and any information which the Executive Branch unilaterally determines “support”
12   immigration authorities in carrying out their duties. Sherman Decl. Ex. B (Defs. Rog Resps. 6,
13   17). But three courts, including Judge Mendez when faced with this exact issue, have already
14   concluded that “the plain meaning of Section 1373 limits its reach to information strictly
15   pertaining to immigration status (i.e. what one’s immigration status is).” E.D. Cal. Op. at 38-39.
16   “[N]o plausible reading of ‘information regarding . . . citizenship or immigration status’
17   encompasses the release date of an undocumented inmate.” Steinle v. City & Cty. of San
18   Francisco, 230 F. Supp. 3d 994, 1015 (N.D. Cal. 2017), appeal docketed, 17-16283 (9th Cir. June
19   21, 2017); see also E.D. Cal. Op. at 39; Philadelphia, 2018 WL 2725503, at *35. Neither do
20   addresses have “any bearing on one’s immigration or citizenship status.” E.D. Cal. Op. at 39-40.
21         Those decisions are correct. For a federal statute to extend into “traditionally sensitive
22   areas” of the state’s police power and “alter the usual constitutional balance between the States
23   and the Federal Government,” Congress must make its intentions “unmistakably clear in the
24   language of the statute.” Gregory, 501 U.S. at 460-61 (emphasis added); see also Bond v. United
25   States, 134 S. Ct. 2077, 2089 (2014). If Congress wanted § 1373 to broadly cover the exchange of
26   virtually all information about an individual, as Defendants seek to do here, “it knew how to do
27   so.” Custis v. United States, 511 U.S. 485, 492 (1994). For instance, in the Illegal Immigration

28   Reform and Immigrant Responsibility Act of 1996, Pub. L. 104-208, the same legislation that
                                                  25
                   Plaintiff State of California’s Motion for Summary Judgment (3:17-cv-04701-WHO)
     Case 3:17-cv-04701-WHO Document 116 Filed 07/09/18 Page 35 of 45



 1   created § 1373, Congress used the phrase, “any information which relates to an alien” in § 384 of
 2   that Act (8 U.S.C. § 1367(a)(2) of the INA) to describe information that is protected from
 3   disclosure. E.D. Cal. Op. at 39. This as well as other provisions of that legislation show that
 4   Congress knew how to use more sweeping and precise terminology when it wished to cover
 5   information about a person’s address, nationality, or associations. 11 “The fact that Congress did
 6   not adopt a readily available and apparent alternative strongly supports” not injecting into § 1373
 7   the types of information brought in by Defendants’ interpretation. See Hawaii v. Trump, 585 U.S.
 8   __, slip op. at 23 (2018) (internal quotations omitted) (discussing 8 U.S.C. § 1152); Steinle, 230
 9   F. Supp. 3d at 1015 (“[I]f the Congress that enacted [the Act] had intended to bar all restrictions
10   of communication between local law enforcement and federal immigration authorities, or
11   specifically to bar restrictions of sharing inmates’ release dates, it could have included such
12   language in the statute.”) (emphasis in original).
13          “A contrary interpretation would know no bounds.” E.D. Cal. Op. at 39. For instance,
14   Defendants insist that home addresses are information “regarding immigration status” because
15   they are “relevant” to whether an immigrant “evidenced an intent not to abandon his or her
16   foreign residence, or otherwise violated the terms of such admission.” Sherman Decl. Ex. B
17   (Defs. Rog. Resp. 6). Under that same logic, whether a person receives any ongoing
18   governmental service, such as unemployment and health benefits, vehicle registration, or school
19   enrollment, would be relevant to immigration status. This confirms that Defendants’ view of §
20   1373 “stop[s] nowhere.” Roach v. Mail Handlers Ben. Plan, 298 F.3d 847, 849-50 (9th Cir.
21   2002); supra at 22.
22          The remainder of California’s statutes also comply with § 1373 as lawfully construed. The
23   TRUTH Act governs ICE interviews with detainees, so does not restrict information sharing in
24   any way, as Defendants already determined. RJN Ex. 42. The State’s Confidentiality Statutes
25   emulate protections for classes of people that the INA also protects. Penal Code sections 422.93,
26   11
       See, e.g., id. § 302, 8 U.S.C. § 1225(a)(5) (permitting immigration officers to ask “any information . . . regarding
     the purposes and intentions of the applicant” including intended length of stay and the applicant’s admissibility); id. §
27   241, 8 U.S.C. § 1231(a)(3)(C) (requiring information “about the alien’s nationality, circumstances, habits,
     associations, and activities and other information the Attorney General considers appropriate”); id. § 414, 8 U.S.C. §
28   1360(c)(2) (Social Security Commissioner must provide “information regarding the name and address of the alien”).
                                                               26
                     Plaintiff State of California’s Motion for Summary Judgment (3:17-cv-04701-WHO)
     Case 3:17-cv-04701-WHO Document 116 Filed 07/09/18 Page 36 of 45



 1   679.10, and 679.11 protect victims and witnesses of crime. Likewise, 8 U.S.C. § 1367 generally
 2   prohibits the “use by or disclosure” of any information provided during the process of applying
 3   for U- or T-visas, or other benefits available for immigrant witnesses and victims of crime, “to
 4   anyone” other than identified federal departments. When a “general permission or prohibition is
 5   contradicted by a specific prohibition or permission . . . the specific provision is construed as an
 6   exception to the general one.” RadLAX Gateway Hotel, LLC v. Amalgamated Bank, 566 U.S. 639,
 7   645 (2012). Therefore, § 1367’s prohibition against disclosure should be construed as an
 8   exception to § 1373 to ensure both provisions are reconciled. See id.
 9         For similar reasons, § 1373 cannot prohibit restrictions on the sharing of immigration status
10   information for vulnerable youth in the juvenile justice system. See Civ. Proc. Code § 155(c);
11   Welf. & Inst. Code §§ 827, 831. The “Special Immigrant Juvenile” process allows abused,
12   abandoned and neglected youth to secure lawful immigration status, illustrating the INA’s
13   concern for such children. See 8 U.S.C. § 1101(a)(27)(J). Congress would not protect vulnerable
14   youth in one section of the INA, but then undermine that protection by building in risks for those
15   same youth in another section. Interpreting § 1373 to apply to children who provide information,
16   at the government’s invitation, to exercise a benefit, would constitute an unduly unfair form of
17   entrapment. See, e.g., Raley v. Ohio, 360 U.S. 423, 438 (1959); Casa De Maryland v. DHS, 284
18   F. Supp. 3d 758, 778-79 (D. Md. 2018) (enjoining DHS from using information provided by
19   DACA applicants for immigration enforcement; doing so after inducing immigrants to provide
20   this information would amount to “affirmative misconduct” by the government); Sanchez v.
21   Sessions, 870 F.3d 901, 913 (9th Cir. 2017) (Pregerson, J., concurring) (“[I]t is unfair for the
22   Government to encourage noncitizens to apply for immigration relief, and at a later date use
23   statements in those relief applications against noncitizens in removal proceedings.”).
24         D.    The State Laws Allow LEAs to Provide Information to Immigration
                 Authorities as Defendants’ Interpretation of § 1373 Requires
25

26         Although the Court need not look further than the plain text of § 1373 and the limits on how
27   that statute may be constitutionality construed, even if Defendants’ interpretation of § 1373 were

28   given any credence, California’s laws, and the implementation of its laws, still comply. The only
                                                     27
                   Plaintiff State of California’s Motion for Summary Judgment (3:17-cv-04701-WHO)
     Case 3:17-cv-04701-WHO Document 116 Filed 07/09/18 Page 37 of 45



 1   State entities that receive JAG or COPS grants are the BSCC and BI. The BSCC is not a law
 2   enforcement agency, see, e.g., Sherman Decl. Ex. F (CA Rog. Resp. 16), and the guidance that
 3   BSCC has provided to LEAs is to comply with the § 1373 Condition. Sherman Decl. Ex. G.
 4   There is also no dispute that BI complies with § 1373. DLE’s policy changes following the
 5   Values Act, applicable to BI, authorize compliance with § 1373. Caligiuri Decl. Ex. A; RJN Ex.
 6   17 at 3, 7. There is no policy, manual, bulletin, or order in which DLE or BI has instructed
 7   officers to limit communications with immigration authorities beyond the lawful limitations
 8   found in state law. See Caligiuri Decl. ¶ 11. BI still cooperates with immigration authorities on
 9   criminal investigations, and has specifically worked with Homeland Security Investigations
10   within ICE on investigations since the Values Act became law. Caligiuri Decl. ¶¶ 9-11, 15-16.
11   As part of these task forces, BI may share confidential information with immigration authorities.
12   Gov’t Code § 7284.6(b)(3); Caligiuri Decl. ¶ 9. In fact, the federal government acknowledges that
13   it has no “issues” with BI. RJN Exs. 43 ¶ 11; 44 ¶ 6. And, although CDCR does not receive JAG
14   or COPS grants, see, e.g., Sherman Decl. Ex. A (CA RFP Resp. 7), the undisputed evidence also
15   shows that state law requires CDCR to cooperate with immigration authorities, Pen. Code §§
16   5025-26, and CDCR has additional policies providing for cooperation. Sherman Decl. Exs. 12-16.
17         The Values Act itself permits LEAs to provide release dates if the subject of the request
18   was previously convicted of one or more of hundreds of offenses, whether the offense was a
19   California offense, a federal offense, or an offense committed in another state. See Gov’t Code §
20   7282.5(a); Sherman Decl. Ex. F (CA. Rog Resp. 5). The Values Act additionally allows LEAs to
21   provide release dates to immigration authorities if the LEA has a practice of sharing such
22   information with the public or has posted the information on its website, so long as it follows
23   federal and state privacy laws. RJN Ex. 17 at 3. There is no state law that restricts the sharing of
24   release dates on a website, and the California Public Records Act allows the disclosure of release
25   dates unless that information would pose a safety risk. See Gov’t Code § 6254(f)(1). Irrefutable
26   evidence shows that immigration authorities have access to, and actively use, California’s
27   criminal history databases that contain addresses. Reich Decl. ¶¶ 6-15 & Exs. A-C.

28
                                                         28
                   Plaintiff State of California’s Motion for Summary Judgment (3:17-cv-04701-WHO)
     Case 3:17-cv-04701-WHO Document 116 Filed 07/09/18 Page 38 of 45



 1         The Philadelphia court’s “second alternative holding” in finding for Philadelphia is
 2   instructive. There, the court determined that although the city restricted the sharing of release
 3   dates to immigration authorities, it complied with USDOJ’s interpretation of § 1373 because it
 4   shared release dates in response to a judicial warrant. See 2018 WL 2725503, at *38-39. Here,
 5   similarly, the Values Act allows LEAs to facilitate a transfer of a person to immigration
 6   authorities if provided with a judicial warrant or a judicial probable cause determination. Gov’t
 7   Code § 7284.6(a)(4). But, unlike in Philadelphia, the Values Act allows more because it permits
 8   LEAs to provide release dates or addresses to immigration authorities if the information is
 9   available to the public, and release dates if the person in custody meets the criminal history
10   criteria in § 7282.5. Id. § 7284.6(a)(1)(C)-(D).
11         Finally, the federal government’s own treatment of immigration status information for the
12   categories of persons that the State’s Confidentiality Statutes protect effectively concedes that
13   those statutes comply with § 1373. By its plain terms, § 1373(b)(3) subjects the federal
14   government to the same mandate as state and local entities not to restrict the sharing of
15   immigration status information to other governmental agencies. Yet, “it has been the long-
16   standing and consistent practice of DHS (and its predecessor INS) to use information submitted
17   by people seeking . . . other benefits for the limited purpose of adjudicating their requests, and not
18   for immigration enforcement purposes,” except in limited circumstances. RJN Ex. 45. The federal
19   government has implemented policies that limit disclosure of immigration status information to
20   other governmental entities. See RJN Exs. 46, 47 (“In no case may any DHS, DOJ, or DOS
21   employee permit use by or disclosure to anyone . . . of any information which relates to an alien
22   who is the beneficiary of an application for relief.”). Likewise, DHS’s policies acknowledge “that
23   there are often confidentiality rules that govern disclosure of records from juvenile-related
24   proceedings” that immigration officers should respect. RJN Ex. 48. This administration has
25   repeatedly contended that it has maintained the policy for Deferred Action for Childhood Arrivals
26   (“DACA”) status individuals to “protect[] from disclosure” information provided by DACA
27   applicants “to ICE and CBP for the purpose of immigration enforcement proceedings.” RJN Ex.

28   49, Q19; 50 at 39 (claiming the policy “currently remains in effect”). The federal government has
                                                     29
                   Plaintiff State of California’s Motion for Summary Judgment (3:17-cv-04701-WHO)
     Case 3:17-cv-04701-WHO Document 116 Filed 07/09/18 Page 39 of 45



 1   taken similar positions to protect the immigration status of people who interact with federal
 2   agencies or seek benefits. See, e.g., RJN Ex. 51 (IRS interpreting 26 U.S.C. § 6103 confidentiality
 3   obligations as prohibiting the disclosure of information for immigration enforcement purposes); 8
 4   C.F.R. § 244.16 (prohibiting information disclosure for Temporary Protected Status applicants,
 5   with exceptions for federal and state LEAs, but not local LEAs).
 6   VI.   THE STATE IS ENTITLED TO INJUNCTIVE RELIEF
 7         A.    Irreparable Harm and Balance of Hardships and the Public Interest
 8         A permanent injunction is appropriate where a plaintiff “suffered an irreparable injury,”
 9   “remedies at law . . . are inadequate,” “the balance of hardships between the plaintiff and
10   defendant” supports an equitable remedy, and “the public interest would not be disserved.” eBay
11   Inc. v. MercExchange, LLC, 547 U.S. 388, 391 (2006). When the federal government is the
12   opposing party, the last two factors merge. Nken v. Holder, 556 U.S. 418, 435 (2009).
13   “[C]onstitutional violation[s] alone, coupled with the damages incurred, can suffice to show
14   irreparable harm.” Am. Trucking Ass’ns, Inc. v. Los Angeles, 559 F.3d 1046, 1058-59 (9th Cir.
15   2009) (relying on Morales v. Trans World Airlines, Inc., 504 U.S. 374 (1992)). Injuries where
16   “sovereign interests and public policies [are] at stake” are irreparable. Kansas v. United States,
17   249 F.3d 1213, 1227-28 (10th Cir. 2001).
18         California faces constitutional injury to its sovereignty. A plaintiff can suffer a
19   constitutional injury by being forced to either comply with an unconstitutional law or else face
20   community and financial injury. See Am. Trucking, 559 F.3d at 1058-59. Since the Challenged
21   Conditions are unconstitutional, that is true here. Further, § 1373, or at minimum, Defendants’
22   expansive interpretation of § 1373, is unconstitutional, so Defendants expect the State to comply
23   with an unconstitutional law in order to receive funding. Defendants admit that the § 1373

24   certification requires jurisdictions to adopt the federal government’s interpretation of the laws,

25   Sherman Decl. Ex. E (Defs. RFA Resp. 16), and Defendants’ filing of a lawsuit against the State

26   alleging the Values Act violates § 1373 makes clear that the State faces legal jeopardy if

27   Defendants refuse to accept a qualified certification. See Morales, 504 U.S. at 380-81 (relief

28   proper where “respondents were faced with a Hobson’s choice: continually violate the Texas law
                                                  30
                   Plaintiff State of California’s Motion for Summary Judgment (3:17-cv-04701-WHO)
     Case 3:17-cv-04701-WHO Document 116 Filed 07/09/18 Page 40 of 45



 1   and expose themselves to potentially huge liability; or violate the law once as a test case and
 2   suffer the injury of obeying the law during the pendency of the proceedings”).
 3         In addition to the serious constitutional injuries, Defendants’ actions will cause real harm to
 4   the State’s communities, no matter what the State does. If the State changes its laws to comply
 5   with unlawful and constitutionally impermissible conditions, the relationship of trust that the
 6   State statutes are intended to build will erode. See Hart Decl. ¶ 18; Goldstein Decl. ¶ 9; Wong.
 7   Decl. ¶¶ 11-13, 41-44, 53; cf. Stuller, Inc. v. Steak N Shake Enters., Inc., 695 F.3d 676, 680 (7th
 8   Cir. 2012) (injuries to goodwill not easily measurable and often irreparable). State and local
 9   entities would have to divert limited resources to immigration activities to the detriment of more
10   immediate local priorities. See, e.g., Hart Decl. ¶ 19. Alternatively, if the State preserves its laws
11   and Defendants cut off millions of dollars in JAG funding that the State is otherwise entitled to,
12   the State will be unable to fund critical public safety programs, and the elimination of programs
13   and staff positions may result. See Jolls Decl. ¶ 19; Caligiuri Decl. ¶¶ 23, 31, 32; McDonnell
14   Decl., ECF 31, ¶¶ 8-9, 15; see also United States v. North Carolina, 192 F. Supp. 3d 620, 629
15   (M.D.N.C. 2016). The courts in Chicago, Philadelphia, and Los Angeles issued injunctions under
16   similar circumstances, with far smaller amounts of money at issue than here. Chicago, 888 F.3d at
17   287; Philadelphia, 2018 WL 2725503, at *41-43; Los Angeles, 293 F. Supp. 3d at 1100.
18         The harm to the State from the loss of COPS grants is already being felt. USDOJ has
19   refused to allocate BI’s awarded COPS funds based on its ongoing “inquiry” into the State’s
20   compliance with § 1373. As a result, BI has had to divert funds it would otherwise spend toward
21   other law enforcement priorities to keep BI personnel on the task force that COPS is supposed to
22   fund. Caligiuri Decl. ¶ 24. BI has been constrained in its ability to fill six vacancies on its task
23   force, indefinitely depriving it of resources to investigate large-scale illicit drug trafficking.
24   Caligiuri Decl. ¶ 23. Moreover, notwithstanding this Court’s suggestion that the State “cover” the
25   costs of the grant while the litigation is pending, ECF 89 at 27, Defendants’ position is that the
26   COPS award prohibits BI from using its own dollars to fund the task force in the interim, and
27   Defendants refuse to waive that prohibition. Sherman Decl. ¶ 6 & Ex. D. Defendants’ actions

28   have left BI between a rock and a hard place, with the Court’s guidance in its March 5 Order and
                                                    31
                   Plaintiff State of California’s Motion for Summary Judgment (3:17-cv-04701-WHO)
     Case 3:17-cv-04701-WHO Document 116 Filed 07/09/18 Page 41 of 45



 1   public safety on the one side and Defendants’ obstinacy on the other. BI chose to follow the
 2   Court’s guidance by funding the task force in the interim to avoid additional damage to public
 3   safety. Caligiuri Decl. ¶¶ 24-25. BI should not be penalized for making that decision.
 4         The balance of the hardships and the public interest also favor “‘prevent[ing] the violation
 5   of a party’s constitutional rights.’” Ariz. Dream Act Coalition v. Brewer, 757 F.3d 1053, 1069
 6   (9th Cir. 2014) (citation omitted). As this Court stated previously, “the public interest would
 7   appear to be better served if the State did not have to choose between the Byrne JAG Program
 8   grant funds to assist its criminal law enforcement efforts and the health of its relationship with the
 9   immigrant community.” ECF 89 at 27. The record on these points has only grown stronger.
10         B.    Nationwide Injunctive Relief
11         A nationwide injunction barring the Challenged Conditions is needed here both to protect
12   California’s specific interests in JAG funding and to protect the strong public interest in enjoining
13   the unconstitutional conditions. First, a nationwide injunction protects California’s interest in
14   receiving its statutorily-allocated grant from a limited annual fund. JAG funding consists of one
15   annual pool of money, and the statute requires it be disbursed according to a formula among
16   qualifying jurisdictions, with none held back. Defendants violated that framework by failing to
17   provide any jurisdiction in California with JAG funding. Absent a nationwide injunction,
18   Defendants could continue to disburse the remaining appropriated JAG funds to jurisdictions
19   without injunctions, while refusing to disburse funds to California. Then when this case is
20   resolved, funds may no longer be available for California. Cf. Suffolk v. Sebelius, 605 F.3d 135,
21   141-42 (2d Cir. 2010) (affirming as moot dismissal of challenge to denial of grant funds where
22   funds were already distributed during the pendency of litigation). The State faces that possibility
23   here because Defendants have already awarded $197.3 million of JAG awards, RJN Exs. 27, 28,
24   the authorizing statute provides no guarantee that withheld funds will be saved indefinitely, and in
25   other circumstances, the authorizing statute allows for withheld funds to be reallocated to other,
26   “compliant” JAG recipients. See 34 U.S.C. §§ 20927, 30307(e)(5).
27         Second, where a court finds an agency’s actions to be unlawful, “the ordinary result is that

28   the rules are vacated—not that their application to the individual petitioners is proscribed.” Nat’l
                                                     32
                   Plaintiff State of California’s Motion for Summary Judgment (3:17-cv-04701-WHO)
     Case 3:17-cv-04701-WHO Document 116 Filed 07/09/18 Page 42 of 45



 1   Min. Ass’n v. U.S. Army Corps of Eng’rs, 145 F.3d 1399, 1409 (D.C. Cir. 1998); see also Utility
 2   Air Regulatory Grp. v. EPA, 134 S. Ct. 2427, 2449 (2014). A court has broad discretion to define
 3   the terms of an injunction, Melendres v. Arpaio, 784 F.3d 1254, 1260 (9th Cir. 2015), and there is
 4   no requirement that an injunction affect only the parties. Bresgal v. Brock, 843 F.2d 1163, 1170
 5   (9th Cir. 1987). Since the Challenged Conditions are illegal and unconstitutional, and § 1373 is
 6   unconstitutional, the most equitable course of action is to enjoin the application of the conditions
 7   nationwide. When a law is unconstitutional on its face, a nationwide injunction is proper. See,
 8   e.g., Whole Woman’s Health v. Hellerstedt, 136 S. Ct. 2292, 2307 (2016) (citation omitted).
 9         Third, nationwide relief is appropriate because the conditions’ constitutional deficiencies
10   are not geographically limited to California. Defendants’ statutory authority over JAG is uniform
11   across jurisdictions. See Califano v. Yamasaki, 442 U.S. 682, 702 (1979) (“The scope of
12   injunctive relief is dictated by the extent of the violation established,” not by geography). The
13   structure of the program—where state and local governments are interconnected because funding
14   changes to one grantee affect allocations to others, 34 U.S.C. § 10156—makes piecemeal relief
15   unsuitable. Here, all state and local jurisdictions in six states, and at least 17 local jurisdictions in
16   other states, have been deprived of JAG funding, and are currently suffering harm from the
17   inability to fund critical programs. See Pittman Decl. ¶ 9; Schmidt Decl. ¶ 14; Swift Decl. ¶¶ 2-3;
18   Springer Decl. ¶¶ 10-15; Wall Decl. ¶¶ 5-7; Grumet Decl. ¶¶ 12-16. And many jurisdictions may
19   have awards that are too small to justify litigation. See, e.g., Swift Decl. ¶ 3. Thus, these
20   jurisdictions as a practical matter are forced to choose between forgoing funds or subjecting
21   themselves to unconstitutional grant award conditions. Finally, as the Challenged Conditions are
22   unconstitutional, only a nationwide injunction provides complete relief. “When the court believes
23   the underlying right to be highly significant, it may write injunctive relief as broad as the right
24   itself.” Zamecnik v. Indian Prairie Sch. Dist. #204, 636 F.3d 874, 879 (7th Cir. 2011) (Posner, J.).
25         C.    Mandamus Relief/Mandatory Injunction
26         In addition and/or in the alternative, California is entitled to mandamus relief. Under the
27   APA, courts shall “compel agency action unlawfully withheld or unreasonably delayed.” 5 U.S.C.

28   § 706(1). Section 706(1) “is a source of injunctive relief to remedy an arbitrary or capricious
                                                      33
                   Plaintiff State of California’s Motion for Summary Judgment (3:17-cv-04701-WHO)
     Case 3:17-cv-04701-WHO Document 116 Filed 07/09/18 Page 43 of 45



 1   delay or denial of agency action.” Sierra Pacific Industries v. Lyng, 866 F.2d 1099, 1111 (9th Cir.
 2   1989). Because the imposition of the Challenged Conditions are unlawful under the APA for
 3   exceeding statutory authority and being arbitrary and capricious, see FAC ¶¶ 133-144, the Court
 4   should issue a mandatory injunction under § 706(1) compelling disbursal of the awards and funds
 5   to all qualifying jurisdictions. See FAC ¶ 17 & FAC, Prayer for Relief ¶¶ 3, 4. 12
 6          A “ministerial or non-discretionary act” is necessary for a mandatory injunction. Norton v.
 7   S. Utah Wilderness Alliance, 542 U.S. 55, 64 (2004) (internal quotations omitted). Congress’s use
 8   of a formula grant structure, in conjunction with the use of the word “shall” in § 10156(a)(1),
 9   imposed a non-discretionary duty on Defendants. Philadelphia, 2018 WL 2725503, at *44.
10   Defendants have failed to issue awards to all qualifying jurisdictions, inconsistent with the
11   statute’s formula. Sherman Decl. Ex. C. The Executive Branch may not refuse congressional
12   mandates to allocate the full amounts appropriated. See Train v. City of New York, 420 U.S. 35,
13   45-46 (1975). This is especially so for formula grants. See, e.g., Los Angeles v. Adams, 556 F.2d
14   40, 50 (D.C. Cir. 1977) (“We hold that the [agency] was required to distribute the money
15   available so as to preserve the allocation formula provided by [statute].”); Volpe, 479 F.2d at
16   1114; see also Los Angeles v. McLaughlin, 865 F.2d 1084, 1088 (9th Cir. 1989) (“[F]ormula
17   grants . . . are not awarded at the discretion of a state or federal agency, but are awarded pursuant
18   to a statutory formula”).
19          The Ninth Circuit uses the six-factor test laid out in Telecommc’ns. Research & Action v.
20   FCC (TRAC), 750 F.2d 70, 79-80 (9th Cir. 1984) to decide if the agency action was “unlawfully
21   withheld” under § 706(1). The first two factors look at whether the statutory scheme or a “rule of
22   reason” govern the time an agency has to make a decision. Id. at 80. “[I]t bears emphasis that
23   Congress specifically set the JAG Program as an annual award, and the DOJ’s delay has
24   precluded the [plaintiff] from receiving the intended award at such time as the [plaintiff] can
25   make timely use of it.” See Philadelphia, 2018 WL 2725503, at *44; supra at 31. The other
26   factors look to hardship and equity, and also support an injunction. The delay impacts human
27   12
       That Defendants may respond to an injunction preventing application of the Challenged Conditions to JAG by
     simply refusing to issue the funds at all is not a hypothetical problem. That is precisely what Defendants did in
28   reaction to Chicago securing a nationwide injunction against the Access and Notification Conditions.
                                                              34
                     Plaintiff State of California’s Motion for Summary Judgment (3:17-cv-04701-WHO)
     Case 3:17-cv-04701-WHO Document 116 Filed 07/09/18 Page 44 of 45



 1   welfare rather than only economic regulation (factor three), and serious state public safety
 2   interests are prejudiced by the delay (factor five). TRAC, 750 F.2d at 80. Without the funds,
 3   California would be forced to abandon effective programs that otherwise reduce recidivism for at-
 4   risk youth, counter the distribution of illegal drugs, [and] advance community policing. See, e.g.,
 5   Jolls Decl. ¶ 10. Because Defendants do not claim that disbursing the funds would negatively
 6   impact competing agency priorities, they have not shown that “the effect of expediting delayed
 7   action on agency activities of a higher or competing priority,” (factor four) weighs in their favor.
 8   TRAC, 750 F.2d at 80. Finally, as for factor six, “the court need not find any impropriety . . . to
 9   hold that agency action is unreasonably delayed,” Id. at 80—though Defendants are acting
10   improperly by withholding funding based on unlawful conditions. See FAC ¶¶ 139-144.
11         Likewise, even though COPS is not a formula grant, California satisfies all of the factors
12   for mandatory relief for that grant. Since Defendants awarded the grant to California already,
13   Defendants’ allocation of funding to California is no longer discretionary since the State complies
14   with the grant’s conditions. Further, Defendants unlawful withholding of funding has precluded
15   California from timely using the grant to the detriment of public safety. Caligiuri Decl. ¶¶ 23-25.
16         Alternatively, the court should issue a mandatory injunction ordering the disbursement of
17   JAG funding on the basis of Plaintiff’s request that it “[p]ermanently enjoin Defendants from
18   using the § 1373, Access, and Notification Conditions as restrictions for JAG funding,” FAC,
19   Prayer for Relief ¶ 2, and from “withholding and terminating” JAG and COPS funding, id. ¶¶ 3,
20   4. See Marquez v. Hardin, 339 F. Supp. 1364, 1366, 1368 (N.D. Cal. 1969) (analyzing Plaintiffs’
21   prayer that Defendants be enjoined from “failing or refusing to enforce their statutory duty” under
22   the National School Lunch Act as a mandamus claim, though it was “cast in terms of a restraining
23   injunction”). In this case, a mandatory injunction compelling the government to disburse the
24   funds is a necessary component of the requested injunctive relief.
25                                               CONCLUSION
26         For the foregoing reasons, California requests this Court grant its Motion.
27

28
                                                         35
                   Plaintiff State of California’s Motion for Summary Judgment (3:17-cv-04701-WHO)
     Case 3:17-cv-04701-WHO Document 116 Filed 07/09/18 Page 45 of 45



 1   Dated: July 9, 2018                                    Respectfully Submitted,
 2                                                          XAVIER BECERRA
                                                            Attorney General of California
 3                                                          SATOSHI YANAI
                                                            Supervising Deputy Attorney General
 4
                                                             /s/ Lee Sherman
 5                                                          /s/ Lisa C. Ehrlich
                                                            /s/ Sarah E. Belton
 6
                                                            LEE SHERMAN
 7                                                          LISA C. EHRLICH
                                                            SARAH E. BELTON
 8                                                          Deputy Attorneys General
                                                            Attorneys for Plaintiff
 9                                                          State of California
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                       36
                 Plaintiff State of California’s Motion for Summary Judgment (3:17-cv-04701-WHO)
